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                                                                                APPEAL,CUSTODY,LC−1
                                    U.S. District Court
           U.S. District Court for the Northern District of Oklahoma (Tulsa)
              CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−1

    Case title: USA v. Springer et al                              Date Filed: 03/10/2009
    Other court case numbers: 09−5165 10th Circuit Court           Date Terminated: 04/28/2010
                                10−5101 10th Circuit
                                11−10096 US Supreme Court
                                13−5113 10th Circuit
                                14−5111 10th Circuit
    Related Case: 4:13−cv−00145−SPF−TLW

    Assigned to: Judge Stephen P Friot
    Appeals court case numbers:
    '10−5055 (#340)' '10th Circuit',
    10−5156 (#428) 10th Circuit,
    11−5053 (#447) 10th Circuit,
    13−5062 (#497) 10th Circuit,
    14−5047 (#554) 10th Circuit,
    14−5109 (#588) 10th Circuit

    Defendant (1)
    Lindsey Kent Springer                  represented by Lindsey Kent Springer
    TERMINATED: 04/28/2010                                #02580−063
                                                          FCI La Tuna
                                                          PO BOX 6000
                                                          ANTHONY, NM 88021
                                                          PRO SE

                                                            Jerold W Barringer
                                                            P O BOX 213
                                                            NOKOMIS, IL 62075
                                                            217−563−2646
                                                            TERMINATED: 04/21/2011
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: CJA or Other Appointment

                                                            Robert Scott Williams
                                                            Taylor Ryan Minton Van Dalsem &Williams PC
                                                            1437 S BOULDER AVE STE 1080
                                                            TULSA, OK 74119
                                                            918−749−5566
                                                            Fax: 918−749−9531
                                                            Email: law@trsvlaw.com
                                                            TERMINATED: 04/27/2010
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                                               LEAD ATTORNEY
                                               Designation: Public Defender or Community
                                               Defender Appointment

    Pending Counts                             Disposition
    18 USC 371: Conspiracy to
                                               BOP 60 months; SR 3 years; Restitution $771,529;
    Defraud the United States
                                               SMA $100
    (1)
    26 USC 7201: Tax Evasion                   BOP 60 months consecutive to Ct 1; SR 3 years;
    (2)                                        SMA $100
    26 USC 7201: Tax Evasion and 18
                                               BOP 60 months consecutive to Ct 12 SR 3 years;
    USC 2
                                               SMA $100
    (3)
    26 USC 7201: Tax Evasion and 18
                                               BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
    USC 2
                                               SMA $100
    (4)
    26 USC 7203: Failure to File Tax
                                               BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
    Return
                                               SMA $25
    (5−6)

    Highest Offense Level (Opening)
    Felony

    Terminated Counts                          Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                 Disposition
    None



    Plaintiff
    USA                                 represented by Charles Anthony O'Reilly
                                                       US Department of Justice (Box 972)
                                                       P O Box 972
                                                       Washington, DC 20044
                                                       202−616−0115
                                                       Email: charles.a.o'reilly@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
Case 4:09-cr-00043-SPF Document 608-1 Filed in USDC ND/OK on 11/03/15 Page 3 of 62


                                                               Jeffrey Andrew Gallant
                                                               United States Attorney's Office (Tulsa)
                                                               110 W 7TH ST STE 300
                                                               TULSA, OK 74119−1013
                                                               918−382−2715
                                                               Fax: 918−560−7938
                                                               Email: Jeff.Gallant@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Kenneth P Snoke
                                                               United States Attorney's Office (Tulsa)
                                                               110 W 7TH ST STE 300
                                                               TULSA, OK 74119−1013
                                                               918−382−2700
                                                               Fax: 918−560−7946
                                                               Email: ken.snoke@usdoj.gov
                                                               TERMINATED: 06/08/2010
                                                               LEAD ATTORNEY

    Date Filed    #    Page Docket Text
    03/10/2009     1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                            One or More Restricted PDFs
    03/10/2009     2        INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                            5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                            03/10/2009)
    03/10/2009     3        SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty
                            Clk) (Entered: 03/10/2009) Contains One or More Restricted PDFs
    03/18/2009     5        MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey
                            Kent Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009     6        MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey
                            Kent Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009     7        BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of
                            Fifth Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk)
                            (Entered: 03/18/2009)
    03/18/2009     8        MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                            (Entered: 03/18/2009)
    03/18/2009     9        MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge
                            James H Payne, this case is hereby returned to the Court Clerk for further
                            reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                            Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    10        MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                            Initial Appearance held on 3/18/2009, Arraignment held on 3/18/2009,
                            appointing CJA attorney Robert Scott Williams for Lindsey Kent Springer,
                            setting/resetting bond as to Lindsey Kent Springer (Court Reporter: C1) (kjp,
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                          Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    11      ORDER by Magistrate Judge Paul J Cleary (for purposes of initial
                          appearance only), appointing CJA attorney as to Lindsey Kent Springer
                          (kjp, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    12      ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as
                          to Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
    03/18/2009    13      BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                          Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
    03/19/2009    18      ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                          representation, setting/resetting deadline(s)/hearing(s): (copy of Order
                          mailed to both defendants on 3/19/09) ( Miscellaneous Deadline set for
                          3/30/2009) as to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk)
                          (Entered: 03/19/2009)
    03/23/2009    19      RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for
                          Electronic Access, 7 Brief in Support of Motion, 6 MOTION for In Camera
                          Review of Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (Snoke, Kenneth) (Entered: 03/23/2009)
    03/24/2009    20      MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent
                          Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                          3/25/2009 to reference to Oscar Stilley (tjc, Dpty Clk). (Entered:
                          03/24/2009)
    03/24/2009    21      MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by
                          Lindsey Kent Springer as to Lindsey Kent Springer (Williams, Robert)
                          Modified on 3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk).
                          (Entered: 03/24/2009)
    03/25/2009            NOTICE of Docket Entry Modification; Error: During e−filing the attorney
                          was prompted to select a case, all defendants were selected; Correction:
                          Edited docket text to remove Oscar Stilley as these pleadings did not name
                          him (Re: 20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          03/25/2009)
    03/25/2009    22      MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                          deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30
                          PM before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)
    03/30/2009    23      MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                          Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants
                          Waive Counsel, ruling on motion(s)/document(s): #5 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (Re: 5 MOTION for Electronic Access ) (Court
                          Reporter: C1) (kjp, Dpty Clk) (Entered: 03/31/2009)
    03/31/2009    24      MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                          Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                          assigned to case, changing case number to 09−CR−43−SPF as to Lindsey
                          Kent Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)
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    04/01/2009    25      MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)
    04/02/2009    26      ORDER by Judge Stephen P Friot (Protective Order), ruling on
                          motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order
                          ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/02/2009)
    04/03/2009    27      ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                          adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                          Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                          #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                          Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)
    04/07/2009    29      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P
                          Friot, Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge
                          Stephen P Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In
                          Camera Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)
    04/07/2009    30      MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)
    04/08/2009    32      ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                          (Re: 30 MOTION to Clarify appointment of Honorable Judge Stephen P.
                          Friot ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)
    04/10/2009    33      MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)
    04/10/2009    34      ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                          (Re: 33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/10/2009)
    04/13/2009    35      MOTION for Protective Order Pending Prospective Franks Hearing by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          04/13/2009)
    04/13/2009    36      MOTION to Unseal Document(s) in 03−CR−55E (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)
    04/13/2009    37      MOTION Request for Release of Affidavit and Transcript surrounding
                          issuance of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/13/2009)
    04/13/2009    38      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P
                          Friot) (Re: 37 MOTION Request for Release of Affidavit and Transcript
                          surrounding issuance of Search Warrant dated 9.15.05, 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing, 36 MOTION to
                          Unseal Document(s) in 03−CR−55E ) as to Lindsey Kent Springer (hbo,
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                          Dpty Clk) (Entered: 04/13/2009)
    04/15/2009    39      MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)
    04/15/2009    40      NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                          UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                          FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                          Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                          03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
    04/16/2009    41      ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09
                          (Re: 39 MOTION Unopposed Motion for Limited Unsealing of Search
                          Warrant and Affidavit and Materials from Case 03−CR−055−CVE ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/16/2009)
    04/16/2009    42      RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION
                          Request for Release of Affidavit and Transcript surrounding issuance of
                          Search Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8
                          MOTION for Bill of Particulars, 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing, 30 MOTION to Clarify appointment of
                          Honorable Judge Stephen P. Friot, 6 MOTION for In Camera Review of
                          Fifth Amendment Proffer, 36 MOTION to Unseal Document(s) in
                          03−CR−55E ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (With attachments) (O'Reilly, Charles) (Entered: 04/16/2009)
    04/22/2009    43      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009,
                          ruling on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39
                          Granted in Part, Denied in part, taking motion(s) under advisement,
                          setting/resetting deadline(s)/hearing(s): ( Motions due by 6/1/2009,
                          Responses due by 6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM
                          before Judge Stephen P Friot, Jury Instructions, Voir Dire &Trial Briefs due
                          by 8/3/2009, Pretrial Conference set for 10/21/2009 at 10:00 AM before
                          Judge Stephen P Friot, Jury Trial set for 10/26/2009 at 09:30 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Re: 37 MOTION Request for Release of Affidavit and Transcript
                          surrounding issuance of Search Warrant dated 9.15.05, 33 MOTION for Bill
                          of Particulars, 8 MOTION for Bill of Particulars, 39 MOTION Unopposed
                          Motion for Limited Unsealing of Search Warrant and Affidavit and
                          Materials from Case 03−CR−055−CVE, 35 MOTION for Protective Order
                          Pending Prospective Franks Hearing, 30 MOTION to Clarify appointment
                          of Honorable Judge Stephen P. Friot, 6 MOTION for In Camera Review of
                          Fifth Amendment Proffer, 36 MOTION to Unseal Document(s) in
                          03−CR−55E ) (Court Reporter: Tracy Washbourne) (pll, Dpty Clk)
                          (Entered: 04/22/2009)
    04/27/2009    44      REPLY to Response to Motion (Re: 35 MOTION for Protective Order
                          Pending Prospective Franks Hearing ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 04/27/2009)
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    04/29/2009    46      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                          5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc #
                          45 for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or
                          More Restricted PDFs
    04/30/2009    45      ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing, 44 Reply to
                          Response to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                          04/30/2009)
    05/01/2009            NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED
                          IN ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc #
                          45 for correct entry (Re: 46 Order,, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),, ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          05/01/2009)
    05/01/2009    47      NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)
    05/06/2009    48      SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                          Kenneth) (Entered: 05/06/2009)
    05/08/2009    49      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                          Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                          Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments)
                          (O'Reilly, Charles) (Entered: 05/08/2009)
    05/12/2009    50      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                          Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing
                          set for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)
    05/15/2009    51      First MOTION to Dismiss Indictment/Information/Complaint for lack of
                          venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 05/15/2009)
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    05/15/2009    52      First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                          Indictment/Information/Complaint for lack of venue ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    53      Second MOTION to Dismiss Indictment/Information/Complaint for
                          violations of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    54      Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                          Indictment/Information/Complaint for violations of Paperwork Reduction
                          Act of 1995 ) by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 05/15/2009)
    05/15/2009    55      Third MOTION to Dismiss Indictment/Information/Complaint pursuant to
                          CIR v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 05/15/2009)
    05/15/2009    56      Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    57      Fourth MOTION to Dismiss Indictment/Information/Complaint for failure
                          to allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    58      Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency
                          element ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)
    05/15/2009    59      Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                          Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    60      Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    61      Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)
    05/15/2009    62      Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss
                          Count(s) One, Two, Three and Four ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 05/15/2009)
    05/15/2009    63      Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                          to allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    64      Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)
    05/15/2009    65      Eighth MOTION to Dismiss Indictment/Information/Complaint violation of
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                          Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    66      Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009    67      MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as
                          to Oscar Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove
                          defendant Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
    05/15/2009    68      BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                          Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint
                          ) by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified
                          on 5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk).
                          (Entered: 05/15/2009)
    05/15/2009    69      JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                          Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                          from text (lml, Dpty Clk). (Entered: 05/15/2009)
    05/18/2009            NOTICE of Docket Entry Modification; Error: These documents were filed
                          as to both defendants in error; Correction: Edited docket text and removed
                          Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May
                          15, 2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)
    05/26/2009    70      ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                          4/22/2009 &directing government to turn over materials to defendant
                          Stilley, ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing, 42 Response in
                          Opposition to Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of
                          Scheduling Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                          Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                          (Entered: 05/26/2009)
    05/29/2009    71      RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re:
                          67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
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                           Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                           Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege certain specific provisions, 69 JOINDER (in [51−66] Generally
                           dispositive filed on May 15, 2009), 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                           MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                           53 Second MOTION to Dismiss Indictment/Information/Complaint for
                           violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                           Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                           Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                           ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                           Charles) (Entered: 05/29/2009)
     06/01/2009   74       MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey)
                           Modified on 6/2/2009; This is a multi−part motion, see Doc # 77 for second
                           event (tjc, Dpty Clk). (Entered: 06/01/2009)
     06/01/2009   75       BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                           Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                           Modified on 6/2/2009 to seal parts 22, 23 and 24 (s−srb, Dpty Clk).
                           (Entered: 06/02/2009)
     06/01/2009   77       MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                           Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
     06/02/2009   76       AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For
                           Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           06/02/2009)
     06/02/2009            NOTICE of Docket Entry Modification; Error: Document # 74 is a two−part
                           motion, but not all parts were filed; Correction: Filed the remaining motion
                           part as Document # 77 (Re: 74 MOTION to Suppress ) as to Lindsey Kent
                           Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
     06/02/2009   78       SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One
                           or More Restricted PDFs
     06/02/2009   79       SEALED ORDER (s−srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                           correct docket text(s−srb, Dpty Clk) (Entered: 06/02/2009) Contains One or
                           More Restricted PDFs
     06/15/2009   80       RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                           Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand
                           Jury testimony and evidence, 74 MOTION to Suppress ) by USA as to
                           Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                           Charles) (Entered: 06/15/2009)
     06/15/2009   81       REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to
                           Dismiss Indictment/Information/Complaint on Fifth Amendment Grounds,
                           63 Seventh MOTION to Dismiss Indictment/Information/Complaint for
                           failure to allege certain specific provisions, 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                           MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
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                           53 Second MOTION to Dismiss Indictment/Information/Complaint for
                           violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                           Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                           Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                           ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                           (Entered: 06/15/2009)
     06/15/2009   82       MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 06/15/2009)
     06/17/2009   85       MINUTE ORDER by Judge Stephen P Friot, setting/resetting
                           deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM
                           before Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied
                           (Re: 82 MOTION for Bill of Particulars, 83 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s)MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 06/17/2009)
     06/17/2009   86       MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, )
                           by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           06/17/2009)
     06/18/2009   87       ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                           motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike
                           Document(s), 67 MOTION to Dismiss Indictment/Information/Complaint
                           for fraud and violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                           Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                           Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege certain specific provisions, 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                           MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                           53 Second MOTION to Dismiss Indictment/Information/Complaint for
                           violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                           Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                           Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element, 69 JOINDER of motions filed by Lindsey Springer (in [51−66]
                           Generally dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss
                           Count(s) One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (pll, Dpty Clk) (Entered: 06/18/2009)
     06/18/2009   88       SEALED MOTION (s−srb, Dpty Clk) Modified on 6/19/2009 to correct
                           event (s−srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More
                           Restricted PDFs
     06/19/2009   89       SEALED MINUTE ORDER (s−srb, Dpty Clk) (Entered: 06/19/2009)
                           Contains One or More Restricted PDFs
     06/19/2009   90       MOTION for Leave to Exceed Page Limitation by USA as to Lindsey Kent
                           Springer (Snoke, Kenneth) (Entered: 06/19/2009)
     06/23/2009   91       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                           Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67
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                           MOTION to Dismiss Indictment/Information/Complaint for fraud and
                           violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                           Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                           Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege certain specific provisions, 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                           MOTION to Dismiss Indictment/Information/Complaint for lack of venue,
                           53 Second MOTION to Dismiss Indictment/Information/Complaint for
                           violations of Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                           Dismiss Indictment/Information/Complaint violation of Fourth/Fifth
                           Amendment and Selective Prosecution, 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four
                           ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           06/23/2009)
     06/25/2009    93      SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                           Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                           Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                           MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to
                           Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                           6/29/2009 to change text to reflect correct event and to change links to
                           reflect base motions (sac, Dpty Clk). (Entered: 06/25/2009)
     06/29/2009            NOTICE of Docket Entry Modification; Error: wrong event selected
                           (Reply); wrong links made; Correction: changed text to reflect correct event
                           (Surreply); created links to base motions (Re: 93 Reply, ) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)
     06/30/2009    94      MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                           Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)
     06/30/2009    95      ***Remark: 9 subpoenas returned as to Lindsey Kent Springer (s−srb, Dpty
                           Clk) (Entered: 07/01/2009)
     07/01/2009    96      RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas
                           ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)
     07/01/2009    97      RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of
                           Particulars ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                           (O'Reilly, Charles) (Entered: 07/01/2009)
     07/01/2009    98      Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                           correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                           (Entered: 07/01/2009)
     07/01/2009    99      MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to
                           correct file date (lml, Dpty Clk). (Entered: 07/02/2009)
     07/02/2009   100      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                           Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                           #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                           Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
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                           Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                           Indictment/Information/Complaint for fraud and violation of the 5th
                           Amendment, 59 Fifth MOTION to Dismiss
                           Indictment/Information/Complaint on Fifth Amendment Grounds, 63
                           Seventh MOTION to Dismiss Indictment/Information/Complaint for failure
                           to allege certain specific provisions, 77 MOTION for Hearing (submitted as
                           part of Doc # 74 ), 92 JOINDER (in [81; 82] Springer's Reply Regarding
                           Opposition to Springer's Motion to Dismiss; Motion for Bill of Particulars
                           filed on 6/15/2009; 6/15/2009), 69 JOINDER (in [51−66] Generally
                           dispositive filed on May 15, 2009), 55 Third MOTION to Dismiss
                           Indictment/Information/Complaint pursuant to CIR v. Duberstein, 94
                           MOTION to Quash, 51 First MOTION to Dismiss
                           Indictment/Information/Complaint for lack of venue, 53 Second MOTION to
                           Dismiss Indictment/Information/Complaint for violations of Paperwork
                           Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                           Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                           Selective Prosecution, 57 Fourth MOTION to Dismiss
                           Indictment/Information/Complaint for failure to allege tax deficiency
                           element, 72 MOTION to Suppress Grand Jury testimony and evidence, 82
                           MOTION for Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s)
                           One, Two, Three and Four, 74 MOTION to Suppress ) (Court Reporter:
                           Tracy Washbourne) (pll, Dpty Clk) Modified on 7/8/2009 to indicate
                           attached PDF has incorrect hearing date. Date hearing held was 7/2/2009
                           (pll, Dpty Clk). (Entered: 07/02/2009)
     07/02/2009   101      MINUTE ORDER by Judge Stephen P Friot : Following the hearing held
                           this date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot,
                           ruling on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash
                           subpoena ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 07/02/2009)
     07/02/2009   103      SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                           Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                           Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                           Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                           Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                           Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                           Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                           07/14/2009) Contains One or More Restricted PDFs
     07/08/2009   102      ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)
     07/14/2009   104      BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by
                           USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                           (Entered: 07/14/2009)
     07/30/2009   105      Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 07/30/2009)
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     08/03/2009   106      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey
                           Kent Springer (Springer, Lindsey) Modified on 8/4/2009 to correct title of
                           event (lml, Dpty Clk). (Entered: 08/03/2009)
     08/03/2009   107      PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                           Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)
     08/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                           text to reflect correcte event (Re: 106 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer (lml, Dpty Clk)
                           (Entered: 08/04/2009)
     08/04/2009   111      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                           Denied (Re: 106 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                           (cds, Dpty Clk) (Entered: 08/04/2009)
     08/05/2009   112      RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                           Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                           Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac,
                           Dpty Clk). (Entered: 08/05/2009)
     08/05/2009   113      MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                           Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                           change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                           seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                           08/05/2009)
     08/06/2009            NOTICE of Docket Entry Modification; Error: wrong event selected
                           (Motion to Accelerate/Extend/Reset Hearings/Deadlines); Correction:
                           changed text to reflect correct event (Motion to File Out of Time) (Re: 113
                           MOTION to File Out of Time ) as to Lindsey Kent Springer (sac, Dpty Clk)
                           (Entered: 08/06/2009)
     08/06/2009   114      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                           04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 132). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           43 Minutes of Motion Hearing, Minutes of Scheduling Conference, Ruling
                           on Motion(s)/Document(s), Taking Motion(s) Under Advisement,
                           Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)
     08/06/2009   115      TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on
                           7/2/09 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                           (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party
                           must file a Transcript Redaction Request within 21 calendar days. If a party
                           fails to request redaction, this unredacted transcript may be made
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                           electronically available to the public without redaction after 90 calendar
                           days. Any party needing a copy of the transcript to review for redaction
                           purposes may view the transcript at the court public terminal at no charge or
                           may purchase a copy from the court reporter. (Re: 100 Minutes of Motion
                           Hearing, Ruling on Motion(s)/Document(s), Striking/Terminating
                           Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                           (pll, Dpty Clk) Modified on 11/5/2009 to remove transcript access restriction
                           (a−hc, Dpty Clk). (Entered: 08/06/2009)
     08/06/2009   116      RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                           Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           Modified on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document
                           states it is as to defendant Springer only (sac, Dpty Clk). (Entered:
                           08/06/2009)
     08/06/2009   117      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                           Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
                           Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)
     08/07/2009   118      MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                           117 Order,, Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Striking/Withdrawing Document(s),
                           Striking/Withdrawing Document(s) ) by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 08/07/2009)
     08/12/2009   119      RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                           USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)
     08/12/2009   121      REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                           Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           08/12/2009)
     08/12/2009   122      REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)
     08/12/2009   123      Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                           (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           08/12/2009)
     08/12/2009   124      Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                           Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 08/12/2009)
     08/13/2009   125      RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                           Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 08/13/2009)
     08/13/2009   126      NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                           08/13/2009)
     08/17/2009   127      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                           denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion);
                           (Re: 118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty
                           Clk) Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk).
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                           (Entered: 08/17/2009)
     08/17/2009   128      OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury
                           Instructions ) as to Lindsey Kent Springer (With attachments) (Springer,
                           Lindsey) (Entered: 08/17/2009)
     08/19/2009   130      REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss
                           Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                           (With attachments) (Springer, Lindsey) (Entered: 08/19/2009)
     09/10/2009   134      NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                           09/10/2009)
     09/16/2009   135      ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey
                           Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)
     09/18/2009   136      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                           denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                           Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge,
                           123 Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and
                           Six ) as to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk)
                           (Entered: 09/18/2009)
     09/21/2009   137      MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos
                           Stilley (O'Reilly, Charles) (Entered: 09/21/2009)
     09/21/2009   138      TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                           (Snoke, Kenneth) (Entered: 09/21/2009)
     09/21/2009   139      NOTICE of Government's Proposed Summary of Indictment by USA as to
                           Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                           9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
     09/21/2009   141      MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 09/21/2009)
     09/21/2009   142      TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                           Lindsey) (Entered: 09/21/2009)
     09/21/2009   143      NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                           Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
                           (Entered: 09/21/2009)
     09/21/2009   144      First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   145      Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   146      Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   147      Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   148      Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
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                           (Entered: 09/21/2009)
     09/21/2009   150      Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   151      Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/21/2009)
     09/21/2009   154      OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey
                           Kent Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct
                           event (tjc, Dpty Clk). (Entered: 09/21/2009)
     09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                           text to reflect correct event (Notice) (Re: 139 MOTION Government's
                           Proposed Summary of Indictment ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
     09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                           text to reflect correct event (Notice) (Re: 143 MOTION Summary of
                           Indictment ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                           09/22/2009)
     09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                           text to reflect correct event (Objection) (Re: 154 MOTION Opposition to
                           Prosecution 404(b) ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                           09/22/2009)
     09/22/2009   156      ORDER by Judge Stephen P Friot : setting ex parte hearing,
                           setting/resetting deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009
                           at 01:30 PM before Judge Stephen P Friot) (Re: 152 MOTION for
                           Subpoena(s) pursuant to Rule 17(b), 141 MOTION for Subpoena(s) under
                           Rule 17 ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 09/22/2009)
     09/22/2009   157      ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                           MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                           Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                           Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           09/22/2009)
     09/23/2009   158      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                           Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P
                           Friot) (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine,
                           137 MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in
                           Limine regarding hearsay and confrontation issues, 148 Fifth MOTION in
                           Limine, 144 First MOTION in Limine, 151 Seventh MOTION in Limine,
                           147 Fourth MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos
                           Stilley (pll, Dpty Clk) (Entered: 09/23/2009)
     09/24/2009   159      MOTION Emergency Motion Regarding Denny Patridge by Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 09/24/2009)
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     09/25/2009   160      SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this
                           document is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009)
                           Contains One or More Restricted PDFs
     09/25/2009   161      RESPONSE in Opposition to Motion (Re: 159 MOTION Emergency
                           Motion Regarding Denny Patridge ) by USA as to Lindsey Kent Springer
                           (O'Reilly, Charles) (Entered: 09/25/2009)
     09/25/2009   162      MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                           (Entered: 09/25/2009)
     09/27/2009   163      RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                           DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           09/27/2009)
     09/28/2009   164      REPLY to Response to Motion (Re: 159 MOTION Emergency Motion
                           Regarding Denny Patridge ) by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/28/2009)
     09/30/2009   165      MINUTE ORDER by Judge Stephen P Friot : Until further notice, all
                           hearings in this case will be held at the Boulder Courthouse, 224 S Boulder,
                           3rd Floor Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos
                           Stilley (pll, Dpty Clk) (Entered: 09/30/2009)
     09/30/2009   166      Fourth MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 09/30/2009)
     09/30/2009   167      MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                           Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                           Lindsey) Modified on 10/1/2009; this is a two−part motion of which only
                           one part was efiled − see 169 for Motion to Clarify (sac, Dpty Clk).
                           (Entered: 09/30/2009)
     09/30/2009   168      MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 09/30/2009)
     09/30/2009   169      MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey
                           Kent Springer (sac, Dpty Clk) (Entered: 10/01/2009)
     10/01/2009            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                           which only one part was efiled; Correction: efiled Motion to Clarify − see
                           169 (Re: 167 MOTION to Reconsider ) as to Lindsey Kent Springer (sac,
                           Dpty Clk) (Entered: 10/01/2009)
     10/01/2009   170      SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to
                           correct title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or
                           More Restricted PDFs
     10/01/2009   171      RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing )
                           by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           10/01/2009)
     10/05/2009   172      RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                           DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
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                           10/7/2009 to seal pdf pursuant to Court Order # 180 (s−srb, Dpty Clk).
                           (Entered: 10/05/2009) Contains One or More Restricted PDFs
     10/05/2009   173      RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                           150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149
                           MOTION in Limine regarding hearsay and confrontation issues, 155
                           JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in
                           Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed on
                           9−21−09), 148 Fifth MOTION in Limine, 144 First MOTION in Limine,
                           151 Seventh MOTION in Limine, 147 Fourth MOTION in Limine ) by USA
                           as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                           (Entered: 10/05/2009)
     10/05/2009   174      SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One
                           or More Restricted PDFs
     10/05/2009   175      RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                           pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147,
                           148, 150, and 151] Motions in Limine, for subpoenas pursuant to Rule
                           17(b), and trial brief filed on 9−21−09), 141 MOTION for Subpoena(s)
                           under Rule 17 ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                           (O'Reilly, Charles) (Entered: 10/05/2009)
     10/05/2009   177      RESPONSE in Opposition to Motion (Re: 137 MOTION in Limine ) by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 10/05/2009)
     10/06/2009   178      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                           Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                           Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)
     10/06/2009   179      MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                           and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           10/06/2009)
     10/07/2009   180      SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/07/2009) Contains One or
                           More Restricted PDFs
     10/07/2009   181      SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                           Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/07/2009   182      SEALED DOCUMENT (O'Reilly, Charles) Modified on 6/4/2010 to unseal
                           per Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
     10/08/2009   183      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                           160 SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION
                           ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           10/08/2009)
     10/08/2009   184      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                           granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey
                           Kent Springer (pll, Dpty Clk) (Entered: 10/08/2009)
     10/08/2009   185      RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                           Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           Modified on 10/9/2009; this document contains two events and that is not
                           allowed with CM/ECF − see 187 for Motion to Accelerate/Extend/Reset
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                           Hearings/Deadlines (sac, Dpty Clk). (Entered: 10/08/2009)
     10/08/2009   186      SEALED ORDER (s−srb, Dpty Clk) Modified on 6/4/2010 to unseal per
                           Order # 370 (lml, Dpty Clk). (Entered: 10/08/2009)
     10/08/2009   187      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond)
                           (Re: 166 Fourth MOTION for Bill of Particulars ) by USA as to Lindsey
                           Kent Springer (sac, Dpty Clk) (Entered: 10/09/2009)
     10/09/2009            NOTICE of Docket Entry Modification; Error: this document contains two
                           events and combined documents are not allowed in CM/ECF; Correction:
                           efiled Motion to Accelerate/Extend/Reset Hearings/Deadlines − see 187 (Re:
                           185 Response in Opposition to Motion, ) as to Lindsey Kent Springer (sac,
                           Dpty Clk) (Entered: 10/09/2009)
     10/09/2009   188      RESPONSE in Opposition to Motion (Re: 187 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey
                           Kent Springer (Springer, Lindsey) (Entered: 10/09/2009)
     10/09/2009   189      NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
     10/09/2009   190      ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                           10/13/2009 to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)
     10/09/2009   191      SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                           More Restricted PDFs
     10/13/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Notice−Other); Correction: Edited docket text to reflect
                           correct event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                           10/13/2009)
     10/13/2009   192      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                           Granted in Part, denied in part (Re: 187 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond), 185 Response
                           in Opposition to Motion, 166 Fourth MOTION for Bill of Particulars ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
     10/13/2009   193      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                           Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
     10/13/2009   194      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167,
                           169 Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
                           MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk)
                           (Entered: 10/13/2009)
     10/13/2009   195      ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                           unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                           More Restricted PDFs
     10/14/2009   196      Opposed MOTION ToOrder O'Reilly to Comply with this Court's Order on
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                           Rule 15 Deposition and schedule return flight that is reasonable and on
                           Saturday, October 17, 2009, at 3:35 P.M. by Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) (Entered: 10/14/2009)
     10/14/2009   197      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #196
                           Denied (Re: 196 Opposed MOTION ToOrder O'Reilly to Comply with this
                           Court's Order on Rule 15 Deposition and schedule return flight that is
                           reasonable and on Saturday, October 17, 2009, at 3:35 P.M. ) as to Lindsey
                           Kent Springer (pll, Dpty Clk) (Entered: 10/14/2009)
     10/14/2009   198      RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                           Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA
                           as to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to
                           delete "as to" Oscar Stilley since this document is only as to Lindsey Kent
                           Springer (sac, Dpty Clk). (Entered: 10/14/2009)
     10/15/2009            NOTICE of Docket Entry Modification; Error: all defendants were selected
                           as to, but document only pertains to Lindsey Springer; Correction: deleted as
                           to defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                           10/15/2009)
     10/16/2009   200      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                           granted with specific limitations (Re: 179 MOTION Compel Clerk of Court
                           to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey
                           Kent Springer(djh, Dpty Clk) (Entered: 10/16/2009)
     10/19/2009   201      Second BILL OF PARTICULARS (Re: 184 Order, Ruling on
                           Motion(s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166
                           Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 10/19/2009)
     10/20/2009   202      SEALED MOTION (Snoke, Kenneth) Modified on 6/4/2010 to unseal per
                           Order # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   203      SEALED ORDER (pll, Dpty Clk) Modified on 6/4/2010 to unseal per Order
                           # 370 (lml, Dpty Clk). (Entered: 10/20/2009)
     10/20/2009   204      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                           or More Restricted PDFs
     10/20/2009   205      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One
                           or More Restricted PDFs
     10/21/2009   207      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                           Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling
                           on motion(s)/document(s): #137,155 grant in part, deny in part;
                           144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                           striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in
                           Limine, 150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third
                           MOTION in Limine, 149 MOTION in Limine regarding hearsay and
                           confrontation issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                           150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                           trial brief filed on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION
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                           Emergency Motion Regarding Denny Patridge, 144 First MOTION in
                           Limine, 205 SEALED MOTION, 206 MOTION to Exclude MENTION OF
                           THE TESTIMONY OF VIKKI WIGGINS PRIOR TO A REASONABLE
                           TIME AFTER PRODUCTION OF THE TRANSCRIPT OF HER
                           TESTIMONY, 151 Seventh MOTION in Limine, 147 Fourth MOTION in
                           Limine ) (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered:
                           10/22/2009)
     10/21/2009   208      ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court
                           as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           10/22/2009)
     10/24/2009   209      PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                           Stilley (O'Reilly, Charles) (Entered: 10/24/2009)
     10/26/2009   212      RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash
                           Testimony of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly,
                           Charles) Modified on 10/27/2009 to remove Lindsey Kent Springer name
                           from text, as his name should not have been selected, as this pleading does
                           not pertain to him (tjc, Dpty Clk). (Entered: 10/26/2009)
     10/26/2009   213      NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
     10/26/2009   214      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains
                           One or More Restricted PDFs
     10/26/2009   215      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                           Dire/Jury Selection began as to Lindsey Kent Springer, Oscar Amos Stilley
                           (Court Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   216      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir
                           Dire/Jury Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar
                           Amos Stilley (pll, Dpty Clk) (Entered: 10/26/2009)
     10/26/2009   217      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 10/26/2009)
     10/26/2009   218      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held , continued to following day, setting/resetting scheduling order date(s): (
                           Jury Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           10/26/2009)
     10/26/2009   219      JOINDER (in 210 Motion to Quash filed on 10/24/09) as to Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 10/26/2009)
     10/27/2009   220      ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                           witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                           Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                           10/27/2009)
     10/27/2009   221      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony
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                           of Vikki Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09)
                           ) (cds, Dpty Clk) (Entered: 10/27/2009)
     10/28/2009   222      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009
                           at 09:00 AM before Judge Stephen P Friot, Motion Hearing set for
                           11/3/2009 at 05:30 PM before Judge Stephen P Friot) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered: 10/28/2009)
     10/29/2009   223      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, ruling on motion(s)/document(s): #145 and 149 Denied,
                           setting/resetting scheduling order date(s): ( Jury Trial set for 10/30/2009 at
                           09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (Re: 145 Second MOTION in Limine, 149 MOTION in
                           Limine regarding hearsay and confrontation issues ) (cds, Dpty Clk)
                           (Entered: 10/30/2009)
     10/30/2009   229      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009
                           at 09:00 AM before Judge Stephen P Friot) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (cds, Dpty Clk) (Entered: 11/03/2009)
     11/01/2009   224      MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling
                           on Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                           Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                           Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                           Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                           Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                           Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                           Deadline(s)/Hearing(s) ) by Lindsey Kent Springer (With attachments)
                           (Springer, Lindsey) Modified on 11/2/2009 to SEAL pdfs per chambers(sac,
                           Dpty Clk). (Entered: 11/01/2009) Contains One or More Restricted PDFs
     11/02/2009   225      RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re:
                           224 MOTION to Reconsider ) by USA as to Lindsey Kent Springer
                           (O'Reilly, Charles) (Entered: 11/02/2009)
     11/02/2009   226      SEALED ORDER (s−srb, Dpty Clk) (Entered: 11/02/2009) Contains One or
                           More Restricted PDFs
     11/02/2009   230      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): continued to following day (
                           Jury Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
                           Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)
     11/03/2009   227      OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer,
                           Lindsey) Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered:
                           11/03/2009)
     11/03/2009   228      NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to
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                           correct event (tjc, Dpty Clk). (Entered: 11/03/2009)
     11/03/2009   231      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): continued to following day (
                           Jury Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           11/03/2009)
     11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Proposed Jury Instructions); Correction: Edited docket text
                           to reflect the correct event (Objection) (Re: 227 Proposed Jury Instructions )
                           as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 11/04/2009)
     11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Proposed Jury Instructions); Correction: Edited docket text
                           to reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                           11/04/2009)
     11/04/2009   233      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): (continued to following day)
                           ( Jury Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           11/04/2009)
     11/05/2009   234      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held continued to following Monday, setting/resetting scheduling order
                           date(s): ( Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P
                           Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 11/05/2009)
     11/05/2009   235      ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey
                           Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)
     11/08/2009   236      PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                           Materiality as to Lindsey Kent Springer (With attachments) (Springer,
                           Lindsey) (Entered: 11/08/2009)
     11/08/2009   237      PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)
     11/09/2009   239      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held , continued to following day, setting/resetting scheduling order date(s): (
                           Jury Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           11/09/2009)
     11/10/2009   240      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): continued to Thursday ( Jury
                           Trial set for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           11/10/2009)
     11/12/2009   241      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): continued to following day (
                           Jury Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as
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                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           11/12/2009)
     11/13/2009   242      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           held, setting/resetting scheduling order date(s): continued to following
                           Monday ( Jury Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P
                           Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 11/13/2009)
     11/16/2009   243      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                           completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                           attachments) (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   244      JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/16/2009   245      JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count
                           1,2,3−4,5−6 and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty
                           Clk) (Entered: 11/17/2009)
     11/16/2009   246      SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                           Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                           (Entered: 11/17/2009) Contains One or More Restricted PDFs
     11/17/2009   247      ORDER by Judge Stephen P Friot setting supplemental conditions following
                           trial, ruling re: modification of conditions of pretrial release as to Lindsey
                           Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
     11/19/2009   248      MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                           (Springer, Lindsey) Modified on 11/20/2009; This is a two−part motion, see
                           Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)
     11/19/2009   249      MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                           Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED
                           IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)
     11/20/2009            NOTICE of Docket Entry Modification; Error: Document # 248 is a
                           two−part motion, but not all parts were filed; Correction: Filed the
                           remaining motion part as Document # 249 (Re: 248 MOTION Extension to
                           File Motion for New Trial ) as to Lindsey Kent Springer (tjc, Dpty Clk)
                           Modified on 11/20/2009; ENTERED IN ERROR (tjc, Dpty Clk). (Entered:
                           11/20/2009)
     11/20/2009   250      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #248
                           Granted (Re: 248 MOTION Extension to File Motion for New Trial ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/20/2009)
     11/20/2009   252      RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's
                           motion for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                           Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                           (With attachments) (O'Reilly, Charles) (Entered: 11/20/2009)
     11/30/2009            ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                           number 09−5165 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           11/30/2009)
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     12/04/2009   256      ORDER from Circuit Court denying petition for writ of mandamus (Re:
                           Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           12/04/2009)
     12/07/2009   257      REPLY to Response to Motion to Dismiss, Mistrial and Reconsider (Re:
                           224 MOTION to Reconsider ) by Lindsey Kent Springer (With attachments)
                           (Springer, Lindsey) Modified on 12/10/2009 to seal PDF; Document
                           STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered: 12/07/2009) Contains
                           One or More Restricted PDFs
     12/08/2009   259      MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                           Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                           Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)
     12/08/2009   260      MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                           Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                           Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                           Restricted PDFs
     12/08/2009   262      MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 12/08/2009)
     12/09/2009   264      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                           Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                           Document(s), 261 MOTION for Judgment of Acquittal and MOTION for
                           New Trial, 257 Reply to Response to Motion, 258 Reply to Response to
                           Motion, 260 MOTION for Judgment of Acquittal, 262 MOTION for New
                           Trial ) (Documents Terminated: 257 Reply to Response to Motion, 261
                           MOTION for Judgment of Acquittal and MOTION for New Trial, 258
                           Reply to Response to Motion, 260 MOTION for Judgment of Acquittal ) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           12/09/2009)
     12/10/2009   265      MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                           Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                           Rules 12.1, MOTION 10 days from date of order to refile docket # 257 and
                           # 260 in accordance with Local Civil Rule 7.2 including extended page
                           number therein (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling
                           on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                           Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                           Striking/Withdrawing Document(s),,, 257 Reply to Response to Motion, 260
                           MOTION for Judgment of Acquittal ) by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 12/10/2009)
     12/11/2009   266      RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set
                           Aside Order dated December 9, 2009 MOTION Reinstate Docket # 257 and
                           # 260 as properly filed under Local Criminal Rules 12.1 MOTION 10 days
                           from date of order to refile docket # 257 and # 260 in accordance with Local
                           Civil Rule 7.2 including extended page number therein ) by USA as to
                           Lindsey Kent Springer (With attachments) (O'Reilly, Charles) (Entered:
                           12/11/2009)
     12/28/2009   270      AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                           12/28/2009)
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     12/28/2009   271      MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                           Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)
     12/28/2009   272      BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse,
                           Removal and for Random Reassignment ) by Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) (Entered: 12/28/2009)
     12/28/2009   273      MOTION to Strike Document(s) (Re: 266 Response in Opposition to
                           Motion, 259 MOTION to Strike Document(s) ) by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 12/28/2009)
     12/28/2009   274      REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside
                           Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260
                           as properly filed under Local Criminal Rules 12.1 MOTION 10 days from
                           date of order to refile docket # 257 and # 260 in accordance with Local Civil
                           Rule 7.2 including extended page number therein ) by Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 12/28/2009)
     12/29/2009   275      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 12/30/2009) Contains
                           One or More Restricted PDFs
     01/07/2010   276      RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                           USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)
     01/07/2010   277      RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify,
                           Recuse, Removal and for Random Reassignment ) by USA as to Lindsey
                           Kent Springer (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)
     01/20/2010   279      MOTION for Leave to Exceed Page Limitation in Reply Regarding
                           Springer's Motion for New Trial, by Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 01/20/2010)
     01/20/2010   280      MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                           Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                           Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           01/20/2010)
     01/20/2010   281      BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE
                           for lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of
                           the Facts and Article III Venue ) by Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) (Entered: 01/20/2010)
     01/20/2010   282      MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                           Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts
                           and Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 01/20/2010)
     01/20/2010   283      BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                           Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                           Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                           Springer (Springer, Lindsey) (Entered: 01/20/2010)
     01/20/2010   284      MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                           III Standing of United States of America, (2) lack of Article III Case or
                           Controversy, (3) for violation of Title 28, United States Code, Section 547,
                           and accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey
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                           Kent Springer (Springer, Lindsey) (Entered: 01/20/2010)
     01/21/2010   285      MOTION to Strike Document(s) 276 and 277 (Re: 277 Response in
                           Opposition to Motion, 276 Response in Opposition to Motion ) by Lindsey
                           Kent Springer (Springer, Lindsey) (Entered: 01/21/2010)
     01/21/2010   286      REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                           Removal and for Random Reassignment ) by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 01/21/2010)
     01/21/2010   287      REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 01/21/2010)
     01/21/2010   288      REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                           01/21/2010)
     01/22/2010   289      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #279
                           Granted (Re: 279 MOTION for Leave to Exceed Page Limitation in Reply
                           Regarding Springer's Motion for New Trial,, 262 MOTION for New Trial )
                           as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 01/22/2010)
     01/22/2010   290      SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                           deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                           Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                           Dpty Clk) (Entered: 01/22/2010)
     01/25/2010   291      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                           Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot)
                           (Re: 290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           01/25/2010)
     01/27/2010   292      RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss
                           Count(s) Two, Three, Four, Five and Six for Lack of Article III Subject
                           Matter Jurisdiction, Article III Jurisdiction of the Facts and Article III
                           Venue, 280 MOTION to Dismiss Count(s) ONE for lack of Article III
                           Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and Article
                           III Venue, 285 MOTION to Strike Document(s) 276 and 277, 284 MOTION
                           to Dismiss Indictment/Information/Complaint for lack of Article III Standing
                           of United States of America, (2) lack of Article III Case or Controversy, (3)
                           for violation of Title 28, United States Code, Section 547, and accompanying
                           brief in MOTION to Dismiss Indictment/Information/Complaint for lack of
                           Article III Standing of United States of America, (2) lack of Article III Case
                           or Controversy, (3) for violation of Title 28, United States Code, Section
                           547, and accompanying brief in ) by USA as to Lindsey Kent Springer
                           (Snoke, Kenneth) (Entered: 01/27/2010)
     01/28/2010   293      OPINION AND ORDER by Judge Stephen P Friot, ruling on
                           motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                           MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                           Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                           Rules 12.1 MOTION 10 days from date of order to refile docket # 257 and #
                           260 in accordance with Local Civil Rule 7.2 including extended page
                           number therein, 267 MOTION to Reconsider, 232 JOINDER in Springer's
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                           motion for reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION
                           for New Trial, 224 MOTION to Reconsider, 273 MOTION to Strike
                           Document(s), 271 MOTION Disqualify, Recuse, Removal and for Random
                           Reassignment, 285 MOTION to Strike Document(s) 276 and 277 ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                           01/28/2010)
     02/01/2010   295      MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                           regarding regulations not in compliance with APA (Re: 2 Indictment ) by
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                           02/01/2010)
     02/03/2010   299      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                           denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                           Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove
                           Lindsey Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)
     02/04/2010   302      RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss
                           Count(s) One, Two, Three, Four, Five and Six regarding regulations not in
                           compliance with APA ) by USA as to Lindsey Kent Springer (O'Reilly,
                           Charles) (Entered: 02/04/2010)
     02/05/2010   303      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s), Monthly
                           MOTION Stay pending ruling from Supreme Court in 09−8701 and brief by
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) Modified on
                           2/11/2010 to seal pdf as this document is STRICKEN per 307 (sac, Dpty
                           Clk). (Entered: 02/05/2010) Contains One or More Restricted PDFs
     02/08/2010   304      MOTION to Strike Document(s) (Re: 303 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                           pending ruling from Supreme Court in 09−8701 and brief ) by USA as to
                           Lindsey Kent Springer (O'Reilly, Charles) Modified on 2/11/2010 to seal pdf
                           as this document is STRICKEN per 307 (sac, Dpty Clk). (Entered:
                           02/08/2010) Contains One or More Restricted PDFs
     02/08/2010   305      MOTION to Withdraw Document(s) (Re: 303 MOTION to
                           Accelerate/Extend/Reset Hearings/Deadlines) as to Lindsey Kent Springer
                           (Springer, Lindsey) Modified on 2/9/2010 to correct title of event (lml, Dpty
                           Clk). (Entered: 02/08/2010)
     02/08/2010   306      MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                           Court in 09−8701 by Lindsey Kent Springer (With attachments) (Springer,
                           Lindsey) (Entered: 02/08/2010)
     02/09/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Notice); Correction: Edited docket text to reflect correct
                           event (Motion to Withdraw Documents) (Re: 305 MOTION to Withdraw
                           Document(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                           02/09/2010)
     02/10/2010   307      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #303
                           Stricken as Moot; #304 Stricken as Moot; #305 Granted,
                           striking/withdrawing document(s) (Re: 304 MOTION to Strike
                           Document(s), 305 MOTION to Withdraw Document(s), 303 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
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                           pending ruling from Supreme Court in 09−8701 and brief ) (Documents
                           Terminated: 303 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s)Monthly MOTION Stay pending ruling from
                           Supreme Court in 09−8701 and brief, 305 MOTION to Withdraw
                           Document(s), 304 MOTION to Strike Document(s) ) as to Lindsey Kent
                           Springer (djh, Dpty Clk) (Entered: 02/10/2010)
     02/10/2010   308      REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s)
                           Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                           Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                           MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                           Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 284
                           MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                           III Standing of United States of America, (2) lack of Article III Case or
                           Controversy, (3) for violation of Title 28, United States Code, Section 547,
                           and accompanying brief in MOTION to Dismiss
                           Indictment/Information/Complaint for lack of Article III Standing of United
                           States of America, (2) lack of Article III Case or Controversy, (3) for
                           violation of Title 28, United States Code, Section 547, and accompanying
                           brief in ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                           02/10/2010)
     02/12/2010   310      RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                           Judge Friot pending determination by Surpeme Court in 09−8701, 309
                           JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay...,
                           Reply filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                           (Entered: 02/12/2010)
     02/18/2010   311      REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s)
                           One, Two, Three, Four, Five and Six regarding regulations not in
                           compliance with APA ) by Lindsey Kent Springer (Springer, Lindsey)
                           (Entered: 02/18/2010)
     02/22/2010   312      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280,
                           282, 284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s)
                           Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                           Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 306
                           MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                           Court in 09−8701, 280 MOTION to Dismiss Count(s) ONE for lack of
                           Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts
                           and Article III Venue, 309 JOINDER (in [295, 306, 308] Motion to
                           dismiss...., Motion for Stay..., Reply filed on 2/1/10, 2/8/10, 2/10/10), 284
                           MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                           III Standing of United States of America, (2) lack of Article III Case or
                           Controversy, (3) for violation of Title 28, United States Code, Section 547,
                           and accompanying brief in MOTION to Dismiss
                           Indictment/Information/Complaint for lack of Article III Standing of United
                           States of America, (2) lack of Article III Case or Controversy, (3) for
                           violation of Title 28, United States Code, Section 547, and accompanying
                           brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                           (Entered: 02/22/2010)
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     02/23/2010   313      ORDER by Judge Stephen P Friot re: consideration of non−standard
                           conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                           Stilley (pll, Dpty Clk) (Entered: 02/23/2010)
     02/25/2010   314      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                           Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                           and Six regarding regulations not in compliance with APA ) as to Lindsey
                           Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)
     03/16/2010   315      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                           One or More Restricted PDFs
     03/25/2010   316      ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                           pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                           Clk) Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered:
                           03/25/2010)
     03/25/2010   317      NOTICE of Docket Entry Modification; Error: Document not attached;
                           Correction: Attached document and included here (Re: 316 Order, Ruling
                           Re: Modification of Conditions of Pretrial Release ) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)
     03/30/2010   318      NOTICE Regarding Defendants' Reference to Variance in Objections to
                           PSIR by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                           Charles) (Entered: 03/30/2010)
     03/30/2010   319      EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles)
                           (Entered: 03/30/2010)
     03/30/2010   321      SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                           Lindsey) (Entered: 03/31/2010)
     04/04/2010   322      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance
                           of Sentencing (Re: 290 Scheduling Order, Setting/Resetting
                           Deadline(s)/Hearing(s), 291 Order,, Setting/Resetting
                           Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),, ) by
                           Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                           04/04/2010)
     04/05/2010   323      RESPONSE in Opposition to Motion (Re: 322 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                           MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance
                           of Sentencing ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 04/05/2010)
     04/05/2010   324      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #322
                           denied (Re: 322 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) Continuance of Sentencing MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                           ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 04/05/2010)
     04/06/2010   325      EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified
                           on 4/7/2010; This is a multi−event document, see Document # 327 for
                           second event (tjc, Dpty Clk). (Entered: 04/06/2010)
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     04/06/2010   327      WITNESS LIST (submitted as part of Doc # 325 ) as to Lindsey Kent
                           Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
     04/07/2010            NOTICE of Docket Entry Modification; Error: This is a multi−event
                           document, which is not allowed in CM/ECF; Correction: Filed the remaining
                           event (Witness List) as Document # 327 (Re: 325 Exhibit List ) as to
                           Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
     04/09/2010   331      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                           Denied (Re: 326 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) to continue sentencing until proper notice has been
                           given ) as to Oscar Amos Stilley Modified on 4/23/2010 to show Oscar
                           Amos Stilley as single filer(cds, Dpty Clk). (Entered: 04/09/2010)
     04/09/2010   332      REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 04/09/2010)
     04/16/2010   333      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                           One or More Restricted PDFs
     04/23/2010   336      MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                           held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne)
                           (With attachments) (pll, Dpty Clk) (Entered: 04/28/2010)
     04/23/2010   339      MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                           Appeal by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/23/2010   340      NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and
                           Commitment, Entering Judgment ) as to Lindsey Kent Springer (s−srl, Dpty
                           Clk) (Entered: 04/29/2010)
     04/23/2010   341      APPEAL FEES Paid in Full (Re: 340 Notice of Appeal to Circuit Court ) by
                           Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/23/2010            ***Remark: appeal forms given (Re: 340 Notice of Appeal to Circuit Court )
                           as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)
     04/27/2010   334      ORDER by Judge Stephen P Friot entered without prejudice to the right of
                           standby counsel to apply for compensation for their services, terminating
                           attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                           Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)
     04/27/2010   335      ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                           Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                           Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                           04/27/2010)
     04/28/2010   337      JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                           judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)
     04/29/2010   342      PRELIMINARY RECORD Sent to Circuit Court (Re: 340 Notice of Appeal
                           to Circuit Court ) as to Lindsey Kent Springer (With attachments) (s−srl,
                           Dpty Clk) (Entered: 04/29/2010)
     04/29/2010   343
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                           MOTION Transcript at Public Expense by Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) (Entered: 04/29/2010)
     04/29/2010   344      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 10−5055 (#340) (Re: 340 Notice of Appeal to Circuit Court ) as to
                           Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/29/2010)
     04/30/2010   345      MOTION Amended Request For Stay of Execution of Sentence and
                           Judgement and Appeal Bond Pending Appeal (Re: 337 Judgment and
                           Commitment, Entering Judgment ) by Lindsey Kent Springer (Springer,
                           Lindsey) Modified on 5/3/2010 to seal PDF; Document STRICKEN per
                           Order # 352 (tjc, Dpty Clk). (Entered: 04/30/2010) Contains One or More
                           Restricted PDFs
     04/30/2010   346      ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   347      MOTION to Strike Document(s) (Re: 345 MOTION Amended Request For
                           Stay of Execution of Sentence and Judgement and Appeal Bond Pending
                           Appeal ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           04/30/2010)
     04/30/2010   350      RESPONSE in Support of Motion (Re: 343 MOTION Transcript at Public
                           Expense ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           04/30/2010)
     04/30/2010   351      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #343
                           Granted (Re: 343 MOTION Transcript at Public Expense ) as to Lindsey
                           Kent Springer (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   352      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                           345 MOTION Amended Request For Stay of Execution of Sentence and
                           Judgement and Appeal Bond Pending Appeal ) (Documents Terminated: 345
                           MOTION Amended Request For Stay of Execution of Sentence and
                           Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                           (pll, Dpty Clk) (Entered: 04/30/2010)
     04/30/2010   354      MOTION for Leave to Exceed Page Limitation For Leave by Lindsey Kent
                           Springer (With attachments) (Springer, Lindsey) (Entered: 04/30/2010)
     05/03/2010   356      RESPONSE in Opposition to Motion (Re: 354 MOTION for Leave to
                           Exceed Page Limitation For Leave ) by USA as to Lindsey Kent Springer
                           (O'Reilly, Charles) (Entered: 05/03/2010)
     05/03/2010   357      RESPONSE (Re: 339 MOTION for Stay of Execution of Sentence
                           MOTION for Release Pending Appeal ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 05/03/2010)
     05/03/2010   358      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #354
                           Granted (Re: 354 MOTION for Leave to Exceed Page Limitation For Leave,
                           345 MOTION Amended Request For Stay of Execution of Sentence and
                           Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                           (pll, Dpty Clk) (Entered: 05/03/2010)
     05/03/2010   359      MOTION For Stay Of Judgement (Re: 339 MOTION for Stay of Execution
                           of Sentence MOTION for Release Pending Appeal ) by Lindsey Kent
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                           Springer (Springer, Lindsey) Modified on 5/4/2010; this is a two−part
                           motion of which only one part was efiled − see 360 for Motion for Release
                           Pending Appeal (sac, Dpty Clk). (Entered: 05/03/2010)
     05/03/2010   360      MOTION for Release Pending Appeal (submitted as part of 359 ) by
                           Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/04/2010)
     05/04/2010            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                           which only one part was efiled; Correction: efiled second part of motion −
                           see 360 (Re: 359 MOTION for Stay Of Judgement ) as to Lindsey Kent
                           Springer (sac, Dpty Clk) (Entered: 05/04/2010)
     05/06/2010   361      RESPONSE in Opposition to Motion (Re: 359 MOTION for Stay Of
                           Judgement ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 05/06/2010)
     05/06/2010   362      ORDER from Circuit Court partially consolidating appeals (Re: 348 Notice
                           of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered:
                           05/06/2010)
     05/07/2010   363      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #359,
                           360 Denied (Re: 360 MOTION for Release Pending Appeal (submitted as
                           part of 359 ), 359 MOTION for Stay Of Judgement ) as to Lindsey Kent
                           Springer (pll, Dpty Clk) (Entered: 05/07/2010)
     05/09/2010   364      MOTION For Delivery of Filed Documents by Lindsey Kent Springer
                           (Springer, Lindsey) (Entered: 05/09/2010)
     05/24/2010   365      TRANSCRIPT ORDER FORM as to Lindsey Kent Springer (With
                           attachments) (Springer, Lindsey) Modified on 5/25/2010 to seal the pdf as it
                           is not fully executed and should have been submitted to the court reporter
                           (sac, Dpty Clk). (Entered: 05/24/2010) Contains One or More Restricted
                           PDFs
     05/25/2010            NOTICE of Docket Entry Modification; Error: this document should have
                           been submitted to the court reporter; Correction: notified Lindsey Springer
                           that this document must first be submitted to the court reporter and that the
                           court reporter will file it of record once it is fully executed (Re: 365
                           Transcript Order Form ) as to Lindsey Kent Springer (sac, Dpty Clk)
                           (Entered: 05/25/2010)
     05/28/2010   366      MOTION to Unseal Document(s) (Re: 203 Sealed Order, 186 Sealed Order,
                           181 SEALED MOTION, 182 Sealed Document, 202 SEALED MOTION )
                           by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                           (Entered: 05/28/2010)
     06/01/2010   367      DESIGNATION of Record on Appeal (Re: 340 Notice of Appeal to Circuit
                           Court ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                           (Entered: 06/01/2010)
     06/01/2010   368      MOTION to Reconsider Release Pending Appeal (Re: 363 Order, Ruling on
                           Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer, Lindsey)
                           Modified on 6/2/2010; This is two−part motion, see Doc # 369 for second
                           event (tjc, Dpty Clk). (Entered: 06/01/2010)
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     06/01/2010   369      MOTION for Hearing (submitted as part of Doc # 368 ) by Lindsey Kent
                           Springer (tjc, Dpty Clk) (Entered: 06/02/2010)
     06/02/2010            NOTICE of Docket Entry Modification; Error: Document # 368 is a
                           two−part motion, but not all parts were filed; Correction: Filed the
                           remaining motion part as Document # 369 (Re: 368 MOTION to Reconsider
                           Release Pending Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk)
                           (Entered: 06/02/2010)
     06/03/2010   370      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #366
                           Granted, unsealing document(s) (Re: 366 MOTION to Unseal Document(s),
                           182 Sealed Document, 186 Sealed Order, 203 Sealed Order, 181 SEALED
                           MOTION, 202 SEALED MOTION ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (pll, Dpty Clk) (Entered: 06/03/2010)
     06/04/2010   371      Amended MOTION to Reconsider Re: 369 MOTION for Hearing
                           (submitted as part of Doc # 368 ), 368 MOTION to Reconsider Release
                           Pending Appeal ) by Lindsey Kent Springer (Springer, Lindsey) Modified
                           on 6/7/2010 to correct event; also this is two−part motion, see Document #
                           372 for second event (tjc, Dpty Clk). (Entered: 06/04/2010)
     06/04/2010   372      Amended MOTION for Hearing re: Evidentiary (submitted as part of Doc #
                           371 ) by Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/07/2010)
     06/07/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                           incorrect event (Motion to Amend) and Document # 371 is a two−part
                           motion, but not all parts were filed; Correction: Edited docket text to reflect
                           the correct event and filed the remaining motion part as Document # 372
                           (Re: 371 MOTION to Reconsider ) as to Lindsey Kent Springer (tjc, Dpty
                           Clk) (Entered: 06/07/2010)
     06/08/2010   373      MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                           Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                           06/08/2010)
     06/08/2010   374      ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                           ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                           Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                           (pll, Dpty Clk) (Entered: 06/08/2010)
     06/08/2010   375      RESPONSE in Opposition to Motion (Re: 371 MOTION to Reconsider, 368
                           MOTION to Reconsider Release Pending Appeal ) by USA as to Lindsey
                           Kent Springer (O'Reilly, Charles) (Entered: 06/08/2010)
     06/08/2010   376      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #364
                           moot (Re: 364 MOTION For Delivery of Filed Documents ) as to Lindsey
                           Kent Springer (pll, Dpty Clk) (Entered: 06/08/2010)
     06/08/2010   377      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #368,
                           369, 371, 372 Denied (Re: 369 MOTION for Hearing (submitted as part of
                           Doc # 368 ), 371 MOTION to Reconsider, 372 Amended MOTION for
                           Hearing re: Evidentiary (submitted as part of Doc # 371 ), 368 MOTION to
                           Reconsider Release Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty
                           Clk) (Entered: 06/08/2010)
     06/09/2010   378
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                           TRANSCRIPT ORDER FORM (Transcripts ordered from Tracy
                           Washbourne) (Re: 340 Notice of Appeal to Circuit Court ) as to Lindsey
                           Kent Springer (s−srl, Dpty Clk) (Entered: 06/09/2010)
     06/10/2010   379      MINUTE ORDER by Court Clerk, directing Jerold W. Barringer to file by
                           July 1, 2010 a Motion for Admission Pro Hac Vice per Local Civil Rule
                           83.2. Additionally, if you intend to practice in this district in the future and
                           want to become a member of this district, please submit an application for
                           attorney admission. as to Lindsey Kent Springer, Oscar Amos Stilley (lal,
                           Dpty Clk) (Entered: 06/10/2010)
     06/16/2010   380      Supplemental CERTIFICATE of Service Due to Returned Mail (Re: 375
                           Response in Opposition to Motion, 373 MOTION to Withdraw Attorney(s),
                           366 MOTION to Unseal Document(s) ) by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/16/2010)
     06/16/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justice Center, 300 N
                           Denver, Tulsa, OK 74103 Returned − marked Return to Sender − not in
                           custody. Remailed on 06/17/10 to FCI Forrest City Low, PO Box 9000,
                           Forrest City, AR 72336 − New address obtained from BOP Website. (Re:
                           376 Order, Ruling on Motion(s)/Document(s), 377 Order,, Ruling on
                           Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 374 Order,
                           Adding/Terminating Attorney(s), Ruling on Motion(s)/Document(s) ) as to
                           Oscar Amos Stilley (sdc, Dpty Clk) Modified on 6/18/2010 to remove
                           additional Defendant (sdc, Dpty Clk). (Entered: 06/17/2010)
     07/07/2010   381      ORDER by Judge Stephen P Friot − Certificate pursuant to 18 USC
                           3006A(d)(3) re: CJA voucher as to Lindsey Kent Springer (pll, Dpty Clk)
                           (Entered: 07/07/2010)
     07/12/2010   382      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                           04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 132). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal 43 Minutes of Motion Hearing, Minutes of Scheduling
                           Conference, Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                           Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sam, Dpty Clk). Modified on 7/13/2010 to
                           create link to 340 (sac, Dpty Clk). Modified on 10/14/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   383      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                           07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 159). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
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                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 100 Minutes of Motion Hearing,
                           Ruling on Motion(s)/Document(s), Striking/Terminating
                           Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley
                           (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript access
                           restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   384      TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                           10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 139). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 207 Minutes of Motion Hearing,
                           Minutes of Pretrial Conference, Ruling on Motion(s)/Document(s),
                           Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   385      TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                           on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                           Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                           Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                           Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                           Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to
                           include that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                           07/12/2010) Contains One or More Restricted PDFs
     07/12/2010   386      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           10/27/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 243 to 515). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 221 Minutes of Jury Trial Held,
                           Ruling on Motion(s)/Document(s)) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   387      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           10/28/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 516 to 640). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
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                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           222 Minutes of Jury Trial Held, Setting/Resetting Deadline(s)/Hearing(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   388      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           10/29/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 641 to 880). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 223 Minutes of Jury Trial Held,
                           Ruling on Motion(s)/Document(s), Setting/Resetting Scheduling Order
                           Date(s)) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk)
                           Modified on 10/15/2010 to remove transcript access restriction (a−hc, Dpty
                           Clk). (Entered: 07/12/2010)
     07/12/2010   389      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           10/30/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 881 to 1130). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           229 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s)
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   390      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 1131 to 1327). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           230 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                           340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   391      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/03/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 1328 to 1608). NOTICE RE REDACTION OF
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                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 231 Minutes of Jury Trial Held,
                           Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   392      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/04/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 1609 to 1934). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           233 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   393      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/05/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 1935 to 2202). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 234 Minutes of Jury Trial Held,
                           Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   394      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/09/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 2203 to 2454). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           239 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
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     07/12/2010   395      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/10/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 2455 to 2669). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           240 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   396      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/12/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 2670 to 2949). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           241 Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   397      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/13/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 2950 to 3056). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 242 Minutes of Jury Trial Held,
                           Setting/Resetting Scheduling Order Date(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   398      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on
                           11/16/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 3057 to 3090). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           340 Notice of Appeal to Circuit Court, 243 Minutes of Jury Trial
                           Completed, Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey
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                           Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                           to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                           07/12/2010)
     07/12/2010   399      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                           04/21/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 1 to 210). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   400      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                           04/22/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 211 to 390). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/12/2010   401      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                           04/23/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 391 to 469). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           336 Minutes of Sentencing, Striking/Terminating Deadline(s)/Hearing(s),
                           340 Notice of Appeal to Circuit Court) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                           access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
     07/13/2010   402      MOTION for Writ of Error Coram Nobis by Lindsey Kent Springer (s−srt,
                           Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   403      MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                           Coram Nobis by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           07/14/2010)
     07/13/2010   404
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                           BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error Coram
                           Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   405      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                           (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   406      AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to Lindsey
                           Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/13/2010   407      CERTIFICATE of Service (Re: 405 MOTION for Leave to Exceed Page
                           Limitation, 402 MOTION for Writ of Error Coram Nobis, 404 Brief in
                           Support of Motion, 403 MOTION for Appointment of Counsel Regarding
                           Motion for Writ of Error Coram Nobis, 406 Affidavit ) as to Lindsey Kent
                           Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
     07/15/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justic Center, 300 N
                           Denver, Tulsa OK 74103 Returned − marked return to sender − not in
                           custody. Remailed on 7/15/10 − FCI Forrest City Low, PO Box 9000,
                           Forrest City, AR 72336. (Re: 379 Order, Directing Attorney to File PHV
                           Motion,, ) as to Oscar Amos Stilley (sdc, Dpty Clk) Modified on 7/16/2010
                           ro remove reference to Lindsey Springer (sdc, Dpty Clk). (Entered:
                           07/15/2010)
     07/16/2010   408      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 07/16/2010)
     07/16/2010   409      Second BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error
                           Coram Nobis ) by Lindsey Kent Springer (With attachments) (sdc, Dpty
                           Clk) (Entered: 07/16/2010)
     07/16/2010   410      CERTIFICATE of Service (Re: 408 MOTION for Leave to Exceed Page
                           Limitation, 409 Brief in Support of Motion ) as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 07/16/2010)
     07/16/2010   411      RESPONSE in Opposition to Motion (Re: 405 MOTION for Leave to
                           Exceed Page Limitation, 402 MOTION for Writ of Error Coram Nobis, 403
                           MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                           Coram Nobis, 408 MOTION for Leave to Exceed Page Limitation ) by USA
                           as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 07/16/2010)
     07/26/2010   412      RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes)
                           (Re: 348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit
                           Court ) as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments)
                           (s−srt, Dpty Clk) (Entered: 07/26/2010)
     07/29/2010   413      NOTICE of Change of Address by Lindsey Kent Springer, Lindsey K
                           Springer as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           07/29/2010)
     07/29/2010   414      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                           transcripts by Lindsey Kent Springer (s−srt, Dpty Clk) Modified on
                           11/9/2010; Document STRICKEN per Order # 427 (tjc, Dpty Clk). (Entered:
                           07/29/2010)
     07/29/2010   415      REPLY to Response to Motion (Re: 402 MOTION for Writ of Error Coram
                           Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)
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     08/11/2010   416      MOTION for Release, MOTION for Stay of Judgment Pending Ruling on
                           Motion for Writ of Coram Nobis, MOTION for Hearing by Lindsey Kent
                           Springer (s−srt, Dpty Clk) (Entered: 08/13/2010)
     08/13/2010   417      ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                           number 10−5101 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           08/16/2010)
     08/30/2010   419      RESPONSE in Opposition to Motion (Re: 416 MOTION for Release
                           MOTION for Stay of Judgment Pending Ruling on Motion for Writ of
                           Coram Nobis MOTION for Hearing ) by USA as to Lindsey Kent Springer
                           (O'Reilly, Charles) (Entered: 08/30/2010)
     08/31/2010            ***Remark: rec'd 10th Circuit Entry of Appearance, Motion for Informa
                           Pauperis, and Petition for Writ of Error Coram Nobis of Mandamas −
                           forwarded to 10th Circuit as to Lindsey Kent Springer (s−srt, Dpty Clk)
                           (Entered: 08/31/2010)
     09/09/2010   420      REPLY to Response to Motion (Re: 416 MOTION for Release MOTION
                           for Stay of Judgment Pending Ruling on Motion for Writ of Coram Nobis
                           MOTION for Hearing ) by Lindsey Kent Springer (s−srt, Dpty Clk)
                           (Entered: 09/09/2010)
     09/09/2010   421      ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of USA
                           (Gallant, Jeffrey) (Entered: 09/09/2010)
     09/13/2010   422      TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing held
                           on 03/30/2009 before Magistrate Judge Paul J Cleary (Court Reporter: Tracy
                           Washbourne) (Pages: 1−36). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request within
                           21 calendar days. If a party fails to request redaction, this unredacted
                           transcript may be made electronically available to the public without
                           redaction after 90 calendar days. Any party needing a copy of the transcript
                           to review for redaction purposes may view the transcript at the court public
                           terminal at no charge or may purchase a copy from the court reporter. (Re:
                           23 Minutes of Miscellaneous Hearing, Ruling on Motion(s)/Document(s),
                           Striking/Terminating Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                           Oscar Amos Stilley (sam, Dpty Clk) Modified on 12/20/2010 to remove
                           transcript access restriction (a−hc, Dpty Clk). (Entered: 09/13/2010)
     10/22/2010   423      ORDER from Circuit Court denying petition for writ of mandamus (Re: 417
                           Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           10/25/2010)
     11/01/2010   424      MOTION for Release Pending Appeal, MOTION to Reconsider (Re: 377
                           Order,, Ruling on Motion(s)/Document(s), Ruling on
                           Motion(s)/Document(s), 363 Order, Ruling on Motion(s)/Document(s) ) by
                           Lindsey Kent Springer (s−srt, Dpty Clk) Modified on
                           11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty Clk). (Entered:
                           11/01/2010)
     11/01/2010   425      BRIEF in Support of Motion (Re: 424 MOTION for Release Pending
                           Appeal MOTION to Reconsider ) by Lindsey Kent Springer (s−srt, Dpty
                           Clk) Modified on 11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty
                           Clk). (Main Document 425 replaced on 2/11/2011) (lml, Dpty Clk).
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                           (Entered: 11/01/2010)
     11/02/2010   426      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re:
                           425 Brief in Support of Motion, 424 MOTION for Release Pending Appeal
                           MOTION to Reconsider, 377 Order,, Ruling on Motion(s)/Document(s),
                           Ruling on Motion(s)/Document(s), 363 Order, Ruling on
                           Motion(s)/Document(s) ) (Documents Terminated: 424 MOTION for
                           Release Pending Appeal MOTION to Reconsider, 425 Brief in Support of
                           Motion ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered: 11/02/2010)
     11/08/2010   427      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #405,
                           408 granted, #402, 403, 416 denied, striking/withdrawing document(s) (Re:
                           405 MOTION for Leave to Exceed Page Limitation, 402 MOTION for Writ
                           of Error Coram Nobis, 403 MOTION for Appointment of Counsel
                           Regarding Motion for Writ of Error Coram Nobis, 408 MOTION for Leave
                           to Exceed Page Limitation, 416 MOTION for Release MOTION for Stay of
                           Judgment Pending Ruling on Motion for Writ of Coram Nobis MOTION for
                           Hearing, 414 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                           to proof transcripts, 409 Brief in Support of Motion ) (Documents
                           Terminated: 414 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) to proof transcripts ) as to Lindsey Kent Springer
                           (pll, Dpty Clk) (Entered: 11/08/2010)
     11/17/2010   428      NOTICE OF APPEAL to Circuit Court (Re: 426 Order,
                           Striking/Withdrawing Document(s),,, Striking/Withdrawing Document(s),
                           427 Order, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s), ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           11/19/2010)
     11/19/2010            ***Remark: Per 10th Circuit this is new Notice of Appeal (Re: 428 Notice
                           of Appeal to Circuit Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk)
                           (Entered: 11/19/2010)
     11/19/2010            ***Remark: appeal forms mailed (Re: 428 Notice of Appeal to Circuit
                           Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)
     11/19/2010   429      PRELIMINARY RECORD Sent to Circuit Court (Re: 428 Notice of Appeal
                           to Circuit Court, ) as to Lindsey Kent Springer (With attachments) (s−srt,
                           Dpty Clk) (Entered: 11/19/2010)
     11/19/2010   430      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 10−5156 (#428) (Re: 428 Notice of Appeal to Circuit Court, ) as to
                           Lindsey Kent Springer (sam, Dpty Clk) (Entered: 11/22/2010)
     12/20/2010   431      TRANSCRIPT ORDER FORM (Transcripts are not necessary or are already
                           on file ) (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent
                           Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
     12/20/2010   432      DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to Circuit
                           Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)
     12/21/2010   433      MINUTE ORDER by Court Clerk, Having reviewed the docket entry and/or
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                           PDF for Dkt # 432, the Court has determined that the designated docket
                           sheet was not attached to the pleading. Attorney Jerold Barringer is hereby
                           directed to re−file an Amended Designation of Record on Appeal with the
                           designated docket sheet attached within 24 hours. (Re: 432 Designation of
                           Record on Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                           12/21/2010)
     12/28/2010   434      LETTER from Circuit Court regarding 1st request for record (Re: 428
                           Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer (sam, Dpty
                           Clk) (Entered: 12/28/2010)
     01/03/2011   435      Amended DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal
                           to Circuit Court, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           01/04/2011)
     01/06/2011   436      RECORD on Appeal Sent to Circuit Court (Record includes: 2 Volumes)
                           (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer
                           (With attachments) (sdc, Dpty Clk) (Entered: 01/06/2011)
     02/16/2011   437      MOTION for Leave to Exceed Page Limitation by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   438      MOTION for New Trial by Lindsey K Springer as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   439      MOTION for Hearing (Re: 438 MOTION for New Trial ) by Lindsey K
                           Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
     02/16/2011   440      BRIEF in Support of Motion (Re: 438 MOTION for New Trial ) by Lindsey
                           K Springer as to Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                           Original Electronic Image reflects illegible pages on paper copy provided to
                           the Court (lml, Dpty Clk). (Entered: 02/17/2011)
     02/18/2011   441      RESPONSE in Opposition to Motion (Re: 438 MOTION for New Trial, 439
                           MOTION for Hearing, 437 MOTION for Leave to Exceed Page Limitation )
                           by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           02/18/2011)
     02/22/2011   442      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #437
                           Granted, setting/resetting deadline(s)/hearing(s): ( Miscellaneous Deadline
                           set for 3/15/2011) (Re: 437 MOTION for Leave to Exceed Page Limitation,
                           438 MOTION for New Trial, 439 MOTION for Hearing ) as to Lindsey
                           Kent Springer (cds, Dpty Clk) (Entered: 02/22/2011)
     03/14/2011   445      REPLY to Response to Motion (Re: 439 MOTION for Hearing ) by Lindsey
                           K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           03/15/2011)
     03/17/2011   446      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #438
                           denied, #439 denied (Re: 438 MOTION for New Trial, 439 MOTION for
                           Hearing ) as to Lindsey Kent Springer (djh, Dpty Clk) (Entered: 03/17/2011)
     03/28/2011   447      NOTICE OF APPEAL to Circuit Court (Re: 446 Order, Ruling on
                           Motion(s)/Document(s) ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 03/29/2011)
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     03/28/2011   448      ***Remark: appeal forms sent (Re: 447 Notice of Appeal to Circuit Court )
                           as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2011)
     03/29/2011   449      PRELIMINARY RECORD Sent to Circuit Court (Re: 447 Notice of Appeal
                           to Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                           Clk) (Entered: 03/29/2011)
     04/15/2011   452      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 11−5053 (#447) (Re: 447 Notice of Appeal to Circuit Court ) as to
                           Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/18/2011)
     05/16/2011   456      MOTION for Leave to Appeal in Forma Pauperis (Re: 447 Notice of Appeal
                           to Circuit Court ) by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                           05/16/2011)
     05/16/2011   457      SUPPLEMENT (Re: 456 MOTION for Leave to Appeal in Forma Pauperis )
                           as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 05/16/2011)
     05/17/2011   458      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #456
                           Granted (Re: 447 Notice of Appeal to Circuit Court, 456 MOTION for
                           Leave to Appeal in Forma Pauperis ) as to Lindsey Kent Springer (pll, Dpty
                           Clk) (Entered: 05/17/2011)
     06/13/2011   459      RECORD on Appeal Sent to Circuit Court (Record includes: 1 Volume)
                           (Re: 447 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer
                           (With attachments) (sdc, Dpty Clk) (Entered: 06/13/2011)
     10/26/2011   460      DECISION from Circuit Court affirming the Decision of the District Court
                           (awaiting mandate) (Re: 348 Notice of Appeal to Circuit Court, 428 Notice
                           of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court, 340
                           Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar
                           Amos Stilley (sdc, Dpty Clk) (Entered: 10/26/2011)
     12/06/2011   461      MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 428
                           Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as
                           to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 12/06/2011)
     12/06/2011   462      MANDATE from Circuit Court (Re: 460 Decision from Circuit Court, 447
                           Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty
                           Clk) (Entered: 12/06/2011)
     05/04/2012   464      LETTER from Circuit Court stating that the Petition for Writ of Certiorari
                           has been filed (U.S. Supreme Court Case Number: 11−10096) (Re: 428
                           Notice of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court,
                           340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (s−srt,
                           Dpty Clk) (Entered: 05/04/2012)
     06/04/2012   468      LETTER from Circuit Court stating that the Petition for Writ of Certiorari
                           has been denied (U.S. Supreme Court Case Number: 11−10096) (Re: 428
                           Notice of Appeal to Circuit Court, 447 Notice of Appeal to Circuit Court,
                           340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc,
                           Dpty Clk) (Entered: 06/04/2012)
     01/02/2013   469      Letter requesting forms (2255 forms packet and local civil rules sent) by
                           Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           01/03/2013)
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     01/02/2013   470      MOTION for Leave to Exceed Page Limitation and Brief to Accompany
                           Motion for Relief Under 2255 by Lindsey K Springer as to Lindsey Kent
                           Springer (sdc, Dpty Clk) (Entered: 01/03/2013)
     01/04/2013   471      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #470
                           Denied (Re: 470 MOTION for Leave to Exceed Page Limitation and Brief to
                           Accompany Motion for Relief Under 2255 ) as to Lindsey Kent Springer (pll,
                           Dpty Clk) (Entered: 01/04/2013)
     03/11/2013   472      MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 by
                           Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk)
                           Civil case 4:13−cv−00145 opened. (Entered: 03/12/2013)
     03/11/2013   473      BRIEF in Support of Motion (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                           Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/11/2013   474      AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                           Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/11/2013   475      CERTIFICATE of Service (Re: 474 Affidavit in Support of Motion, 473
                           Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                           Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to Lindsey Kent
                           Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/11/2013   476      MINUTE ORDER by Judge Stephen P Friot (Re: 472 MOTION to
                           Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey
                           Kent Springer (s−srt, Dpty Clk) (Entered: 03/12/2013)
     03/13/2013            ***Remark: copy of #472 given to USA (Re: 476 Order, ) as to Lindsey Kent
                           Springer (s−srt, Dpty Clk) (Entered: 03/13/2013)
     03/14/2013   477      ***Remark: copy of #473, #474, #475 given to USA (Re: 476 Order, ) as to
                           Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 03/14/2013)
     03/15/2013   478      ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                           Responses due by 8/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                           Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                           Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                           Kent Springer (cds, Dpty Clk) (Entered: 03/15/2013)
     03/25/2013   479      MOTION to Proceed In Forma Pauperis by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/25/2013)
     03/27/2013   480      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #479
                           Denied (Re: 479 MOTION to Proceed In Forma Pauperis ) as to Lindsey
                           Kent Springer (cds, Dpty Clk) (Entered: 03/27/2013)
     03/29/2013   481      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey K
                           Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2013)
     04/01/2013   482      ORDER by Judge Stephen P Friot re: deadline to file motion to disqualify,
                           ruling on motion(s)/document(s): #481 Granted (Re: 481 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                           Springer (pll, Dpty Clk) (Entered: 04/01/2013)
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     04/08/2013   483      MOTION to Clarify by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           04/08/2013)
     04/09/2013   484      ORDER by Judge Stephen P Friot , terminating document(s) (Re: 480 Order,
                           Ruling on Motion(s)/Document(s), 479 MOTION to Proceed In Forma
                           Pauperis , 483 MOTION to Clarify ) (Documents Terminated: 483
                           MOTION to Clarify ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered:
                           04/09/2013)
     04/29/2013   485      MOTION To Recuse of Disqualify Honorable United States District Judge
                           Stephen P. Friot by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           04/29/2013)
     04/29/2013   486      AFFIDAVIT in Support of Motion (Re: 485 MOTION To Recuse of
                           Disqualify Honorable United States District Judge Stephen P. Friot ) by
                           Lindsey K Springer as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           04/29/2013)
     05/03/2013   487      RESPONSE in Opposition to Motion (Re: 485 MOTION To Recuse of
                           Disqualify Honorable United States District Judge Stephen P. Friot ) by
                           USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified on 5/6/2013;
                           this document contains two events and that is not allowed with CM/ECF −
                           see 491 for Motion to Strike Document(s) (sac, Dpty Clk). (Entered:
                           05/03/2013)
     05/03/2013   488      MOTION for Declaratory Judgment Remedy by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) Modified on 5/8/2013 − STRICKEN
                           per 492 (sac, Dpty Clk). (Entered: 05/03/2013)
     05/03/2013   489      BRIEF in Support of Motion (Re: 488 MOTION for Declaratory Judgment
                           Remedy ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty
                           Clk) Modified on 5/8/2013 − STRICKEN per 492 (sac, Dpty Clk).
                           (Entered: 05/03/2013)
     05/03/2013   490      ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                           Miscellaneous Deadline set for 5/17/2013) (Re: 487 Response in Opposition
                           to Motion ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                           05/03/2013)
     05/03/2013   491      MOTION to Strike Document(s) (submitted as part of 487 ) (Re: 485
                           MOTION To Recuse of Disqualify Honorable United States District Judge
                           Stephen P. Friot ) by USA as to Lindsey Kent Springer (sac, Dpty Clk)
                           (Entered: 05/06/2013)
     05/06/2013            NOTICE of Docket Entry Modification; Error: this document contains two
                           events and that is not allowed with CM/ECF; Correction: filed Motion to
                           Strike Document(s) − see 491 (Re: 487 Response in Opposition to Motion, )
                           as to Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/06/2013)
     05/07/2013   492      ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                           489 Brief in Support of Motion, 488 MOTION for Declaratory Judgment
                           Remedy ) (Documents Terminated: 489 Brief in Support of Motion, 488
                           MOTION for Declaratory Judgment Remedy ) as to Lindsey Kent Springer
                           (cds, Dpty Clk) (Entered: 05/07/2013)
     05/10/2013   493
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                           MOTION to Clarify Who is U.S. Attorney by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/10/2013)
     05/10/2013   494      MOTION to Reconsider Determination that Section 2255 is Continuing
                           Criminal Case and Not a New Civil Case by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/13/2013)
     05/13/2013   495      ERRATA/CORRECTION (Re: 487 Response in Opposition to Motion, ) by
                           USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 05/13/2013)
     05/15/2013   496      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #493
                           stricken in part, denied in part; #494 denied (Re: 493 MOTION to Clarify
                           Who is U.S. Attorney, 494 MOTION to Reconsider Determination that
                           Section 2255 is Continuing Criminal Case and Not a New Civil Case ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 05/15/2013)
     05/15/2013   497      NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490 Order,
                           Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order, Ruling on
                           Motion(s)/Document(s), 484 Order,,,, Terminating Document(s), 478 Order,,
                           Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,,
                           Striking/Withdrawing Document(s), ) by Lindsey K Springer as to Lindsey
                           Kent Springer (sdc, Dpty Clk) (Entered: 05/15/2013)
     05/15/2013   498      Letter re: appeal by Lindsey K Springer as to Lindsey Kent Springer (sdc,
                           Dpty Clk) (Entered: 05/15/2013)
     05/15/2013   499      PRELIMINARY RECORD Sent to Circuit Court (Re: 497 Notice of Appeal
                           to Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (With
                           attachments) (sdc, Dpty Clk) (Entered: 05/15/2013)
     05/15/2013            ***Remark: appeal forms mailed to Defendant (Re: 497 Notice of Appeal to
                           Circuit Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 05/15/2013)
     05/16/2013   500      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 13−5062 (#497) (Re: 497 Notice of Appeal to Circuit Court −
                           Interlocutory, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                           05/16/2013)
     05/16/2013   501      ORDER from Circuit Court tolling briefing on the merits. Jurisdiction
                           challenged (Re: 497 Notice of Appeal to Circuit Court − Interlocutory, ) as
                           to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/16/2013)
     05/20/2013   502      REPLY to Response to Motion (Re: 485 MOTION To Recuse of Disqualify
                           Honorable United States District Judge Stephen P. Friot ) by Lindsey K
                           Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/21/2013)
     05/28/2013   503      Amended NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 490
                           Order, Setting/Resetting Deadline(s)/Hearing(s), 476 Order, 480 Order,
                           Ruling on Motion(s)/Document(s), 484 Order,,,, Terminating Document(s),
                           478 Order,, Setting/Resetting Deadline(s)/Hearing(s),,, 492 Order,,
                           Striking/Withdrawing Document(s), ) by Lindsey K Springer as to Lindsey
                           Kent Springer (sdc, Dpty Clk) Modified on 5/30/2013 to edit event title (sdc,
                           Dpty Clk). Modified on 5/30/2013 to replace incorrect PDF (sdc, Dpty Clk).
                           (Entered: 05/30/2013)
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     05/30/2013   504      Amended PRELIMINARY RECORD Sent to Circuit Court (Re: 503 Notice
                           of Appeal to Circuit Court − Interlocutory, ) as to Lindsey Kent Springer
                           (With attachments) (sdc, Dpty Clk) (Attachment 1 replaced on 5/30/2013)
                           (sdc, Dpty Clk). (Attachment 1 replaced on 5/30/2013) (sdc, Dpty Clk).
                           (Entered: 05/30/2013)
     05/30/2013   505      NOTICE of Docket Entry Modification; Error: pages missing; Correction:
                           replaced PDF with corrected document (Re: 503 Notice of Appeal to Circuit
                           Court − Interlocutory,, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 05/30/2013)
     05/30/2013   506      NOTICE of Docket Entry Modification; Error: missing pages from
                           Amended Notice of Appeal; Correction: replaced PDF with corrected
                           document (Re: 504 Preliminary Record Sent, ) as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 05/30/2013)
     05/31/2013   507      MOTION to Disqualify Charles A. O'Reilly by Lindsey Kent Springer (sdc,
                           Dpty Clk) (Entered: 05/31/2013)
     05/31/2013   508      MOTION to Substitute by Lindsey K Springer as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 05/31/2013)
     06/20/2013   509      DECISION from Circuit Court dismissing the Appeal (Re: 503 Notice of
                           Appeal to Circuit Court − Interlocutory,, 497 Notice of Appeal to Circuit
                           Court − Interlocutory, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 06/20/2013)
     06/21/2013   510      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #485
                           denied (Re: 485 MOTION To Recuse of Disqualify Honorable United States
                           District Judge Stephen P. Friot ) as to Lindsey Kent Springer (hbo, Dpty
                           Clk) (Entered: 06/21/2013)
     06/25/2013   511      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #507
                           &#508 are denied (Re: 508 MOTION to Substitute , 507 MOTION to
                           Disqualify Charles A. O'Reilly ) as to Lindsey Kent Springer (lml, Dpty Clk)
                           (Entered: 06/25/2013)
     07/02/2013   512      MOTION for Conditional Release on Writ of Habeas Corpus as to Count
                           One by Lindsey K Springer as to Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 07/02/2013)
     07/02/2013   513      MOTION for Conditional Release on Writ of Habeas Corpus as to Counts
                           Two, Three and Four by Lindsey K Springer as to Lindsey Kent Springer
                           (sc, Dpty Clk) (Entered: 07/02/2013)
     07/03/2013   514      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #512
                           and 513 denied (Re: 513 MOTION for Conditional Release on Writ of
                           Habeas Corpus as to Counts Two, Three and Four , 512 MOTION for
                           Conditional Release on Writ of Habeas Corpus as to Count One ) as to
                           Lindsey Kent Springer (pll, Dpty Clk) (Entered: 07/03/2013)
     07/24/2013   515      Letter to Clerk of Court as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                           07/24/2013)
     08/13/2013   516      MOTION for Extension of Time to Respond to Motion (Re: 472 MOTION
                           to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to
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                           Lindsey Kent Springer (Gallant, Jeffrey) (Entered: 08/13/2013)
     08/15/2013   517      ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                           Responses due by 9/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                           Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                           Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                           Kent Springer (hbo, Dpty Clk) (Entered: 08/15/2013)
     08/29/2013            ***Remark: Petition for Writ of Mandamus was filed in the 10th Circuit on
                           08/29/2013 and assigned case no. 13−5113 as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 09/18/2013)
     09/09/2013   518      Preliminary RESPONSE in Opposition to Motion (Re: 472 MOTION to
                           Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to
                           Lindsey Kent Springer (With attachments) (O'Reilly, Charles) (Entered:
                           09/09/2013)
     09/16/2013   519      NOTICE of Change of Address as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 09/16/2013)
     09/18/2013   520      ORDER from Circuit Court granting Appellant's motion for leave to proceed
                           in forma pauperis (Re: Remark ) as to Lindsey Kent Springer (sdc, Dpty
                           Clk) (Entered: 09/18/2013)
     09/18/2013   521      ORDER from Circuit Court denying Petition for Writ of Mandamus (Re:
                           Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 09/18/2013)
     10/07/2013   522      MOTION to Strike Document(s) (Re: 518 Response in Opposition to
                           Motion ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/07/2013)
     10/07/2013   523      NOTICE of Change of Address by Lindsey K Springer as to Lindsey Kent
                           Springer (sc, Dpty Clk) (Entered: 10/07/2013)
     10/09/2013   524      MOTION for Leave to Conduct Limited Discovery on United States
                           Attorney by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 10/09/2013)
     10/24/2013   525      RESPONSE in Opposition to Motion to Strike (Re: 522 MOTION to Strike
                           Document(s) ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 10/24/2013)
     10/24/2013   526      RESPONSE in Opposition to Motion to Conduct Limited Discovery (Re:
                           524 MOTION for Leave to Conduct Limited Discovery on United States
                           Attorney ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 10/24/2013)
     10/31/2013   527      MOTION for Leave to File Reply (Re: 524 MOTION for Leave to Conduct
                           Limited Discovery on United States Attorney , 522 MOTION to Strike
                           Document(s) ) by Lindsey K Springer as to Lindsey Kent Springer (sdc,
                           Dpty Clk) (Entered: 11/01/2013)
     01/06/2014   528      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #522,
                           524 &527 denied (Re: 527 MOTION for Leave to File Reply , 524
                           MOTION for Leave to Conduct Limited Discovery on United States
                           Attorney , 522 MOTION to Strike Document(s) ) as to Lindsey Kent
                           Springer (hbo, Dpty Clk) (Entered: 01/06/2014)
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     01/08/2014   529      MOTION to Clarify Reply (Re: 478 Order, Setting/Resetting
                           Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 01/08/2014)
     01/10/2014   530      ORDER by Judge Stephen P Friot (Copy of this order and Order #528
                           mailed to defendant), ruling on motion(s)/document(s): #529 granted (Re:
                           529 MOTION to Clarify Reply ) as to Lindsey Kent Springer (hbo, Dpty
                           Clk) (Entered: 01/10/2014)
     01/21/2014   531      MOTION to Reconsider (Re: 528 Order, Ruling on Motion(s)/Document(s),,
                           ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 01/21/2014)
     01/31/2014   532      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 01/31/2014)
     02/03/2014   533      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #532
                           granted (Re: 532 MOTION for Leave to Exceed Page Limitation ) as to
                           Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 02/03/2014)
     02/10/2014   534      RESPONSE (Re: 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, )
                           by Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/11/2014)
     02/13/2014   535      Letter from Defendant re: receipt of Motion as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 02/13/2014)
     02/13/2014   536      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #531
                           denied (Re: 531 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                           Dpty Clk) (Entered: 02/13/2014)
     03/03/2014   538      MOTION to Disqualify Judge by Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 03/04/2014)
     03/04/2014   537      ORDER by Judge Stephen P Friot Second stage schedule − Government
                           response 5/5/14, Defendant reply 7/7/14; Briefs 25 pages limitation;
                           Dismissal of certain grounds for relief., setting/resetting
                           deadline(s)/hearing(s): ( Responses due by 5/5/2014) (Re: 472 MOTION to
                           Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey
                           Kent Springer (hbo, Dpty Clk) (Entered: 03/04/2014)
     03/05/2014   539      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #538
                           denied (Re: 538 MOTION to Disqualify Judge ) as to Lindsey Kent Springer
                           (hbo, Dpty Clk) (Entered: 03/05/2014)
     03/19/2014   540      MOTION for Return/Release Property by Lindsey Kent Springer (sc, Dpty
                           Clk) (Entered: 03/20/2014)
     03/19/2014   541      EXHIBIT(S) in Support of Motion for Return of Property (Re: 540
                           MOTION for Return/Release Property ) as to Lindsey Kent Springer (sc,
                           Dpty Clk) (Entered: 03/20/2014)
     03/24/2014   542      ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                           Responses due by 4/9/2014) (Re: 540 MOTION for Return/Release Property
                           ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 03/24/2014)
     03/27/2014   543      MOTION for Identity of Statutory Authority of Honorable Stephen P. Friot
                           by Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/27/2014)
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     03/27/2014   544      MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                           Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 03/27/2014)
     03/27/2014   545      MOTION for Appointment of Counsel by Lindsey Kent Springer (sdc, Dpty
                           Clk) (Entered: 03/27/2014)
     03/27/2014   546      MOTION for Leave to Proceed Informa Pauperis by Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 03/27/2014)
     03/31/2014   547      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #543,
                           544 &545 denied, terminating document(s) (Re: 545 MOTION for
                           Appointment of Counsel , 544 MOTION to Reconsider , 543 MOTION for
                           Identity of Statutory Authority of Honorable Stephen P. Friot , 546
                           MOTION for Leave to Proceed Informa Pauperis ) (Documents Terminated:
                           546 MOTION for Leave to Proceed Informa Pauperis ) as to Lindsey Kent
                           Springer (hbo, Dpty Clk) (Entered: 03/31/2014)
     04/07/2014   548      RESPONSE in Opposition to Motion (Re: 540 MOTION for Return/Release
                           Property ) by USA as to Lindsey Kent Springer (With attachments)
                           (O'Reilly, Charles) (Entered: 04/07/2014)
     04/07/2014   549      MOTION for an Order Directing Mr. Springer to Retrieve Search Warrant
                           Records by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                           Charles) (Entered: 04/07/2014)
     04/07/2014   550      ERRATA/CORRECTION Attachment A (Re: 548 Response in Opposition
                           to Motion ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 04/07/2014)
     04/07/2014   551      MOTION for Rule 41(i) Papers by Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 04/07/2014)
     04/10/2014   552      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #540
                           &551 denied (Re: 551 MOTION for Rule 41(i) Papers , 540 MOTION for
                           Return/Release Property ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                           (Entered: 04/10/2014)
     04/24/2014   553      MOTION to Reconsider (Re: 537 Order, Setting/Resetting
                           Deadline(s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 04/24/2014)
     04/25/2014   554      NOTICE OF APPEAL to Circuit Court (Re: 552 Order, Ruling on
                           Motion(s)/Document(s),, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 04/25/2014)
     04/25/2014   555      NOTICE of Matters Alleged in Another Action, Case No.
                           14−CV−71−JHP−TLW as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 04/28/2014)
     04/28/2014   556      PRELIMINARY RECORD Sent to Circuit Court (Re: 554 Notice of Appeal
                           to Circuit Court ) as to Lindsey Kent Springer (With attachments) (sdc, Dpty
                           Clk) (Entered: 04/28/2014)
     04/28/2014   557      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #553
                           denied (Re: 553 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
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                           Dpty Clk) (Entered: 04/28/2014)
     04/28/2014   558      RESPONSE in Opposition to Motion to Government Lawyer's Motion (Re:
                           549 MOTION for an Order Directing Mr. Springer to Retrieve Search
                           Warrant Records ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                           04/28/2014)
     04/28/2014   559      MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                           to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                           04/28/2014)
     04/28/2014   560      MOTION for Leave to Appeal in Forma Pauperis (Re: 554 Notice of Appeal
                           to Circuit Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                           04/28/2014)
     04/28/2014   561      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 14−5047 (#554) (Re: 554 Notice of Appeal to Circuit Court ) as to
                           Lindsey Kent Springer (sc, Dpty Clk) (Modified on 4/28/2014 to attach PDF
                           (sc, Dpty Clk). (Entered: 04/28/2014)
     04/30/2014   562      RESPONSE in Opposition to Motion (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 04/30/2014)
     05/01/2014   574      MAIL to Martha Durossette Returned − address has been changed to address
                           unknown. (Re: 557 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                           Kent Springer (sc, Dpty Clk) (Entered: 07/09/2014)
     05/02/2014   563      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #559
                           &560 denied (Re: 560 MOTION for Leave to Appeal in Forma Pauperis ,
                           559 MOTION for Leave to Appeal in Forma Pauperis ) as to Lindsey Kent
                           Springer (hbo, Dpty Clk) (Entered: 05/02/2014)
     06/04/2014   564      DECISION from Circuit Court dismissing the Appeal (Re: 554 Notice of
                           Appeal to Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 06/04/2014)
     06/04/2014   565      MANDATE from Circuit Court (Re: 554 Notice of Appeal to Circuit Court,
                           564 Decision from Circuit Court ) as to Lindsey Kent Springer (sdc, Dpty
                           Clk) (Entered: 06/04/2014)
     06/11/2014   566      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #549
                           granted (Re: 549 MOTION for an Order Directing Mr. Springer to Retrieve
                           Search Warrant Records ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                           (Entered: 06/11/2014)
     06/16/2014   569      MAIL to Martha Durossette Returned − address has been changed to address
                           unknown. (Re: 566 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey
                           Kent Springer (sdc, Dpty Clk) (Entered: 06/26/2014)
     06/20/2014   567      RESPONSE Merits Brief by Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 06/24/2014)
     06/20/2014   568      AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 06/24/2014)
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     06/27/2014   570      MOTION to Amend 2255 (Re: 472 MOTION to Vacate/Set Aside/Correct
                           Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 06/27/2014)
     07/01/2014   571      ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s): (
                           Responses due by 7/18/2014) (Re: 570 MOTION to Amend 2255 ) as to
                           Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/01/2014)
     07/07/2014   572      MOTION to Reconsider and Allow Discovery by Lindsey Kent Springer (sc,
                           Dpty Clk) (Entered: 07/07/2014)
     07/07/2014   573      AFFIDAVIT (titled as Declaration of Lindsey Kent Springer in Support of
                           Motion to Reconsider and Allow Discovery) (Re: 572 MOTION to
                           Reconsider and Allow Discovery ) by Lindsey Kent Springer (sc, Dpty Clk)
                           Modified on 7/8/2014 to reflect correct event (sc, Dpty Clk). (Entered:
                           07/07/2014)
     07/08/2014            NOTICE of Docket Entry Modification; Error: docketed using incorrect
                           event title; Correction: edited docket text to reflect correct event title (Re:
                           573 Brief in Support of Motion, ) as to Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 07/08/2014)
     07/09/2014   575      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #572
                           denied (Re: 572 MOTION to Reconsider and Allow Discovery ) as to
                           Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/09/2014)
     07/10/2014   576      RESPONSE in Opposition to Motion (Re: 570 MOTION to Amend 2255 )
                           by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                           07/10/2014)
     07/11/2014   577      MOTION for Release Pending Disposition of 2255 Proceeding (Re: 472
                           MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by
                           Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
     07/11/2014   578      AFFIDAVIT in Support of Motion (titled as Declaration of Lindsey Kent
                           Springer in Support of Motion for Release Pending Disposition of 2255
                           Proceeding) (Re: 577 MOTION for Release Pending Disposition of 2255
                           Proceeding ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
     07/15/2014   579      ORDER by Judge Stephen P Friot Documents #577 &578 are transferred to
                           the U.S. District Court for the District of New Mexico, further any claims for
                           relief brought under 28USC Sec 2255 are dismissed without prejudice for
                           lack of jurisdiction. (Re: 578 Affidavit in Support of Motion, 577 MOTION
                           for Release Pending Disposition of 2255 Proceeding ) as to Lindsey Kent
                           Springer (hbo, Dpty Clk) (Entered: 07/15/2014)
     07/16/2014   580      Letter to United States District Court for the District of New Mexico re:
                           transferring dkt #s 577 &578 as to Lindsey Kent Springer (srt, Dpty Clk)
                           (Entered: 07/16/2014)
     07/25/2014   581      ***Remark: acknowledgment of receipt of letter to United States District
                           Court for the District of New Mexico re: transferring dkt #s 577 &578 (Re:
                           580 Letter ) as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                           07/28/2014)
     07/25/2014   582
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                           REPLY to Response to Motion (Re: 570 MOTION to Amend 2255 ) by
                           Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/28/2014)
     07/30/2014   583      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #570
                           denied (Re: 570 MOTION to Amend 2255 ) as to Lindsey Kent Springer
                           (hbo, Dpty Clk) (Entered: 07/30/2014)
     08/22/2014   584      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #472
                           denied, denying certificate of appealability (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                           (pll, Dpty Clk) (Entered: 08/22/2014)
     08/22/2014   585      JUDGMENT by Judge Stephen P Friot (Re: 472 MOTION to Vacate/Set
                           Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                           (pll, Dpty Clk) (Entered: 08/22/2014)
     08/25/2014   586      MOTION For Order Finding Charles A. O'Reilly Is Not Authorized And
                           Was Never Authorized To Represent The United States Of America by
                           Lindsey Kent Springer (jla, Dpty Clk) (Entered: 08/25/2014)
     08/26/2014   587      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #586
                           Denied (Re: 586 MOTION For Order Finding Charles A. O'Reilly Is Not
                           Authorized And Was Never Authorized To Represent The United States Of
                           America ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/26/2014)
     09/12/2014   588      NOTICE OF APPEAL to Circuit Court (Re: 476 Order, 566 Order, Ruling
                           on Motion(s)/Document(s), 530 Order, Ruling on Motion(s)/Document(s),
                           587 Order, Ruling on Motion(s)/Document(s),, 536 Order, Ruling on
                           Motion(s)/Document(s), 480 Order, Ruling on Motion(s)/Document(s), 528
                           Order, Ruling on Motion(s)/Document(s),, 484 Order,, Terminating
                           Document(s),,, 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 537
                           Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 492 Order,
                           Striking/Withdrawing Document(s),, 585 Judgment, 584 Order, Ruling on
                           Motion(s)/Document(s), Re: Ruling on 2255, 3582 or Rule 35 Motion,
                           Denying Certificate of Appealability,,,, 575 Order, Ruling on
                           Motion(s)/Document(s), 557 Order, Ruling on Motion(s)/Document(s), 496
                           Order, Ruling on Motion(s)/Document(s),, 547 Order, Ruling on
                           Motion(s)/Document(s), Terminating Document(s),,,,,, 511 Order, Ruling on
                           Motion(s)/Document(s),, 552 Order, Ruling on Motion(s)/Document(s),, 579
                           Order,,, 514 Order, Ruling on Motion(s)/Document(s),, 510 Order, Ruling
                           on Motion(s)/Document(s),, 539 Order, Ruling on Motion(s)/Document(s),,
                           583 Order, Ruling on Motion(s)/Document(s) ) as to Lindsey Kent Springer
                           (sc, Dpty Clk) Modified on 9/16/2014 to create link for document #539 (sc,
                           Dpty Clk). (Entered: 09/16/2014)
     09/16/2014   589      PRELIMINARY RECORD Sent to Circuit Court (Re: 588 Notice of Appeal
                           to Circuit Court,,,,, ) as to Lindsey Kent Springer (With attachments) (sc,
                           Dpty Clk) Modified on 9/16/2014 to replace incorrect PDF (sc, Dpty Clk).
                           (Entered: 09/16/2014)
     09/16/2014   590      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                           Number 14−5109 (#588) (Re: 588 Notice of Appeal to Circuit Court,,,,, ) as
                           to Lindsey Kent Springer (sc, Dpty Clk) (Entered: 09/16/2014)
     09/18/2014   591
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                           ***Remark: A Petition for Writ of mandamus has been filed on 09/18/14 at
                           the Circuit Court assigning case number 14−5111 as to Lindsey Kent
                           Springer (sc, Dpty Clk) (Entered: 09/19/2014)
     10/06/2014   592      ORDER from Circuit Court directing petitioner to show cause why this
                           mandamus petition should not be dismissed as moot (Re: 591 Remark ) as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 10/06/2014)
     10/06/2014   593      MOTION for Leave to Appeal in Forma Pauperis (Re: 588 Notice of Appeal
                           to Circuit Court,,,,, ) by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           10/06/2014)
     10/07/2014   594      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #593
                           denied (Re: 593 MOTION for Leave to Appeal in Forma Pauperis, 588
                           NOTICE OF APPEAL ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                           Modified on 10/8/2014 to create link to 588 (sac, Dpty Clk). (Entered:
                           10/07/2014)
     10/08/2014   595      LETTER from Circuit Court regarding jurisdictional review complete.
                           Record on appeal due 11/17/2014 (Re: 588 Notice of Appeal to Circuit
                           Court,,,,, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           10/08/2014)
     10/22/2014   596      ORDER from Circuit Court dismissing Petition for Writ of Mandamus (Re:
                           591 Remark ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                           10/22/2014)
     11/05/2014   597      RECORD on Appeal Sent to Circuit Court (Record includes: 1Volume) (Re:
                           588 Notice of Appeal to Circuit Court,,,,, ) as to Lindsey Kent Springer
                           (With attachments) (sdc, Dpty Clk) (Main Document 597 replaced on
                           11/5/2014 to replace incorrect cover letter) (sdc, Dpty Clk). (Entered:
                           11/05/2014)
     11/05/2014   598      NOTICE of Docket Entry Modification; Error: cover letter filed with
                           incorrect 10th circuit case number; Correction: replaced document with
                           corrected PDF (Re: 597 Appeal Record Sent, ) as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 11/05/2014)
     02/25/2015   599      DECISION from Circuit Court dismissing the Appeal (Re: 588 Notice of
                           Appeal to Circuit Court,,,,, ) as to Lindsey Kent Springer (sc, Dpty Clk)
                           (Entered: 02/25/2015)
     08/25/2015   600      Letter re: restitution (Resp Ltr Sent) as to Lindsey Kent Springer (jln, Dpty
                           Clk) (Entered: 08/25/2015)
     08/25/2015   601      Letter to Lindsey Kent Springer re:financial status as to Lindsey Kent
                           Springer (jln, Dpty Clk) (Entered: 08/25/2015)
     08/28/2015   602      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to File Motion
                           Pursuant to Federal Rules of Civil Procedure Rule 60(b) by Lindsey Kent
                           Springer (sdc, Dpty Clk) (Entered: 08/28/2015)
     09/04/2015   603      ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #602
                           denied (Re: 602 MOTION to Accelerate/Extend/Reset
                           Hearing(s)/Deadline(s) to File Motion Pursuant to Federal Rules of Civil
                           Procedure Rule 60(b) ) as to Lindsey Kent Springer (hbo, Dpty Clk)
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                            (Entered: 09/04/2015)
     10/13/2015   604       MOTION to Enjoin Enforcement of the Judgment Dated April 28, 2010,
                            Based Upon Several Frauds on the Court (Re: 337 Judgment and
                            Commitment, Entering Judgment ) by Lindsey Kent Springer (sc, Dpty Clk)
                            (Entered: 10/14/2015)
     10/13/2015   605       BRIEF in Support of Motion (Re: 604 MOTION to Enjoin Enforcement of
                            the Judgment Dated April 28, 2010, Based Upon Several Frauds on the
                            Court ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/14/2015)
     10/20/2015   606   62 ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #604
                           denied (Re: 604 MOTION to Enjoin Enforcement of the Judgment Dated
                           April 28, 2010, Based Upon Several Frauds on the Court ) as to Lindsey
                           Kent Springer (lml, Dpty Clk) (Entered: 10/20/2015)
     11/02/2015   607   59 NOTICE OF APPEAL to Circuit Court (Re: 606 Order, Ruling on
                           Motion(s)/Document(s),, ) as to Lindsey Kent Springer (jln, Dpty Clk)
                           (Entered: 11/02/2015)
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                        )
                                                   )
           Plaintiff/Respondent,                   )
                                                   )
  -vs-                                             )   Case No. 09-cr-0043-SPF
                                                   )
  LINDSEY KENT SPRINGER,                           )
                                                   )
           Defendant/Movant.                       )

                                          ORDER
                                      (re doc. no. 604)

           Defendant Lindsey Kent Springer moves to enjoin enforcement of the judgment
  dated April 28, 2010, based upon what he contends are several frauds upon the court.
  Doc. no. 604. Mr. Springer argues that prosecutors lacked standing or authority to
  prosecute him on behalf of the United States of America, and that various frauds on
  the court in this regard led the court to exercise Article III, § 2 judicial power which
  had ceased to exist. Over the years, Mr. Springer has made similar arguments
  challenging the authority of prosecutors and the court, all of which have been rejected.
  Further discussion of these frivolous arguments is not necessary. The motion is
  DENIED.
           Dated this 20th day of October, 2015.




  09-0043p134.wpd
